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                                   #: 346




                    EXHIBIT 2
     Case 1:23-cv-09248-RER-PK                      Document 29-2               Filed 09/20/24                           Page 2 of 107 PageID
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 LATANYA COLLINS.
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            -against-                              SECOND AMENDED COMPLAIN'f
 THE CITY OF NEW YQJU{.Jill.lihe...                J\u-y Trial Demandod
 NEW YORK CITY DEPARTMENT QF
 EDUCATION.                                        23 CY 9218 <JAM)

                           Defendants.

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INTRODUCTION AND SUMMARY OF Cl'.S6                                                                                            ormatted: Not Expanded by / Condensed by
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~llRH&-C·Ms. Collins"), through counsel, stands before this honorable court ~ecking justice and

com™at[Qn fotJ.mlawful religious discrimjnntion cunicd out by their employer. the New York Cit\

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  Case 1:23-cv-09248-RER-PK                               Document 29-2                  Filed 09/20/24                         Page 3 of 107 PageID
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12.\mRrtmcnt..9LEducatiQ.n t:D.QE"}Jn ~ rt wjth the City of New York (the "City"). Plai ntiffs

ru;serts clai ms under Title Vil of the Civil Rights Act of 1964, eas amended l"Tit!e VII"). 4200

U.S.C. § 2000e, et seq,t; 42 U.S.C,-§-~1983, for the deprivation of J:iet:..-rights under the First

Amendment and 11~0 .Gquttl Proleelien Clouse-of the Fourteenth Amendment of the United States

Constitution; the New York City Human.Il\gh_ts._L~v.:; C"<;;I IRI/), N_Yc;'.;. ~ d111)!'listr!},tiy~_C~9e,.1Jtle_.,                Formatted: Not Expanded by / Condensed by
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8¼_. an(i the.New._Yor~ State._li(!maq Rights Law. (''SHRL'"), NY Executive Law § 29~, et seq. They ·:...
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bring this lawsuit on behalf of themselves, and others similarly s1 tuntcd.                                      ,}·:,:. Formatted: Not Expanded by/ Condensed by
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                       INTRODUCTION AND SUMM AR\' Of THE CASI~                                                        ·;~-   Formatted: Not Expanded by/Condensed by

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        I.      This case ru:osc bceayse the City. working in concert with its DOE, cnsrngctl In                       ·•,1\'                   -             -
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widespread religious discrimination in an attempt IQ evade statutory Qbligations to accommodptc                          :/,\ Formatted: Not Expanded by/ Condensed by
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l'eligious practices of DOE employees lhat copnictcd with the Cily"s Covid- 19 V!ICCinc mand!lte.                            ,i,,;,------·-


        2.      Through this lawsuit. Pl11intifTs seek to saluJ.mrd rctieious ftc~dom for herself anJ!
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othcl'S and to rustorc justice and dignity to educators who spent their careers faithfully serving New

York City's public-school children.

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        3.      This Court has subject matter jurisdiction pursuant to 28 U.S,C. §§ 133 1 and 1343.                                Formatted: Font 12 pt, Bold, Underline
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PlaintitHurther invokes the sunr tomental juri~cliction of this Court pursuant to 28 U.S.C. § I367(a)                              Double

to hear related claims arising under New York State law because they ore so related to th~ federal

cjp.ims that they form part or the sumi: controversy.

        4.      Venue is proper in this district undur 28 U,S.C § 139Hbl bccm1sc it is the district in

which a substantial part of the events giving rise to PlniplifT"s claims occurred.

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resident of Queens    County. New York. Prjor to being den ied religiou s accom01..o .ct~tion,.,Ms..,
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       8.      At some pojn~ g~(':1/ee.ll~he.. _
                                               R.Qe__llA_~ foll of 2019 and s,iring of 202Q, the Covid- I 9           Forma~ o t Expanded by/ Condensed by
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virus bl:gan circulating in New York City and around the wol'ld.
                                                                                                                      Formatted: Not Expanded by / Condensed by
       9.       In March 2020, New York Stnte declnred a stpte-disnster emcrgcnc,_y due to the, ~             ..   • ·(!_on!!atted: Not Expanded by / ~ ndensed by

&ftef-Covid-19 pandemic.

       10.     Schools    were closed Jbr the. _p a F t - i ~ m _ e ~ ~-                                            ( Formatted~          nded by / Condensed by     _J
~remainder of the Sgring 2020 semester across the stale.

       11,     In tj,e fall of 2020, DOE schools reopened for in-person learning, with the option nf
remote instructjon iFram i lies prcfccruL.1.ha!J)J.)tim,.
       12,     Tend1crs and most ~tnffwere required to return lo in-person instruction.
       13.     tlowevcr. DOE liberally granted accommodations to most DOE employees whQ

wished to work from hntnc or rgmot\,!ly.

         ~.__I.,_n....,o=r around December 2020. vaccines became avuilable against Covid-19.
       ~14

,M,-.Bul there was no vaccine mandate on DOB em~oitrn~ion-aww,<!
  Case 1:23-cv-09248-RER-PK                             Document 29-2                 Filed 09/20/24       Page 9 of 107 PageID
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        .li,_Qn-."l~t>ttlmber 2H02h durjng the 2020-2021 school year. and DOE allowed

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 entire rest of the school year nnd following summer.

         I6.,..__0=n Juqc 23, 2021, Governor Cuomo announced thal the pandemic emergency wns
        .:..;

 Qffl_ciallv over in New York State.

        17.     Bv the gnd of.July 202 1. the scientific consensus among worId public hcahh lenders

 coalesced around three facts:

                a.   vaeeinnlccl people could ~till catch and spread SARS-CoV-2 and were emmlly IL~

                     in(cctious as unrnccinatcd people when they did~ and

                h. herd immunity could nol bp achieved through vnccination; a_n-9

                c. any vaccine protection waned si~nificanlly nflcrn mailer of weeks.

        18.     By Augu:;t 2021. govcrn1112n1s arQ\ll)d the world puhlicly ackn~.Q~..Jlmr

Y!!.£9-i!inliou would not stop the spread orthe virus. and thnt cve,yone. vaccinated 11nd unvnccinatcd

alike, would likely Cjllch Covjd- I 9.

TIie Cit)• '.t First Mn11dntes

        19.     Atkr a!I of this~·cd. Qn ~ _3, 2_Q2 l ..J.,1aj;pr de Olasio dcc!Ell'Cd war on lhe
unvaccinatcd. announcing n "Key to New Y.1>rk City" pnss which intentionally exclude~ unvuccina\cd

people from accessing basic o~ricc\s of lil(;in New York in I} hlnt;ml c!Tort to coerce them to get

.YPCci.fia1cd..fil1b_oJ1~ ilihc cxperin1£Illi!LCOVID-19 vaccines.

        20.     In a pres!> conference, the Mayor describi,;d his "Key to NYC" mandateps thµ ..first-

in-1hc-11ntion•· of its kind. since it had no mechanism for religious or medical uccommod.'\.ljon.
 Case 1:23-cv-09248-RER-PK                              Document 29-2 Filed 09/20/24                              Page 10 of 107 PageID
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        21.     Two days later, Wolf Blitzcr interviewed CQC~ irector Rochelle Walcnsky, who

acknowledged on national television that the v accines could not stop transmission          orCovid• 19.
        22.     Or. Walensky said: ' 'what [the vnccincsl can't do aiw rnorc is prevent transmissjon,"

When asked ifnsymptomatjc vaccinated people could pass on the virus, Dr. Walcnsky further §l ated.

" that's exactl y right::

        23.     The CDC'~ public o.cknowlcdgment that the Covid- 19 vaccines cannot stop

transmission only tri ggered the M ayor to become more ;walous about mandating them .

        24.     Earlier thal summer. New York Cjty h.Rd adontcd a vaccination policy thut allowed

D OE employees to test wcck.h'.jf th1,y did not want to get vnccjnntcd. w h!Qh was supposed to go

i nto clTcct in September 2021.

        25.     On or about August 24. 202 1. Mayor Bill de Bla,~io and Commissioner Chokshi

chan ged course. issuing the first versjon of a new "emergency•· regulation mandq/i11g Coyid-19

vaccination for most DQE__Qmployccs and removing the testing op tion in lieu or vaccinatiQn.

        26.     No new emergency justified this new aggressive mandate.

        27.     There were no urgent increases in hospitalizations or deaths necessitating the

implementation of these policies in N ew York City in August or September 202 1,

        28,     N or did it mak<r sqnsc to remove the option of testing in lieu or vaccination_,_

        29.     M ost DOE employees had been work ing in pcr~on unvaccinated for over a y1.mr.

        30.     Most crnp!oyccg, inc)udipg PW,n!itT. already had nntural imm unity.

        31.      By August it was well established that natural imm unitv provided superior immunity

to Covid- 19 than yaccin11tion.

        "'32._...___ C,....hi ldren are also the least yulnerahle population. when it comes to Covid- 19, w ith
F~ hospitalizations and essentially zero dcall1s,


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        ..
        33""''---'-N'-"o..n"c\hcless. both th1: Cjty and DOE nnnwnccd that not only were they imposing

this Mandate. but they wou ld nlso not even c,onsider anv n:ljgious or medical nccommgdation

requests from the vnccrnc Mandnte for nrn:. DOE employee.

        34.     Meanwhile. there were carve-outs mndc for scC!!l!!Lreasons that dcfcntcd the !;l!tled

p.!!fl2Q,~.e of the Mnndatc in thuamc war and defeated any possit,i litv of herd immuni!r,_

        35,     Importantly, there was no mondatc for students in the fall of 202 1.

        36,     In or around December 2021. the Cit) imposed an "emergency" regulation \hut

mandated nwcines for students engaging in extracurricular activities.



of the one million sJudenJs in the New York City public schools free to attend in person

unvaccinated so long as they did not attend engage in cenain specified extra-curricular activities.

        38,     Given this fact. herd immunity would not have been possible even if the vaccines

li2liliLJlnvc stopped transmission. as students would still be exposed to their unvaccinated

classmates even if 100% of all tcnchc.rt.!!nd stuff were f_1,1 l~accinated1

       39.      I f all 100.000 plus DOE staff were vai;cinnted. they would still renect less thun ton

percent of\he population in schools.

       .40.     It was well-cslahl]i;_hed science that ten percent 1•accination rates £.()11ld ncvcf...lilim

transmission of ~·ov~n. n community, even for vaccinc,:s that can p~vcnt rnfection and

trunsmission in tho recipient,

       +7.4 1. The vaccine stntus of one l!!acher in a clussroom ~ ith tw1:nly to fitly unvaccinntcq •                    Formatted: Body Text Justified, Indent: Left: o·, First   l
students co,1.1ld not hnvc any irnvoct on stoppjng lhe wrcad of Covid- 19, cyen if the vaccines djd                      lline: 0.5", Right 0.08", Space Before: 0.05 pl
                                                                                                                          Numbered + Level: 1 + Numbering Style: 1, 2, 3, ... +
                                                                                                                          Start at 1 + Alignment Left + Aligned at: 0.5" +
                                                                                                                          Indent at 0.75". Tab stops: Not at 0.4"
                                                                                                                                                                                    J
~top transmission.

       42 .     The Mandnte nllowcd other curve-outs for seculnr reasons as well.
       . ,_4...,3.~_,_F.,_or._yx.:'x:::·n,mple. unvnccinnted bus driver~ ,wre nllo,,cd to oontinuc driving students in
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enclosed buses 1,hu,; to staffing issues.

        44,     A nd unvnccinatcd members of the public could come to the school:; to vote m\d man

volunteer tnbles, among other renson,

        45.     The DOE Mandate ~tates on its focc that it relied in part on the s1a1c·s healthcare

worker mandate to justify its imposition of the DOE Mandate.

        12.._T l1e healthcnre worker mandate was later struck down as arbitrary and capdt;:iQ!1s...ln

part because of the New York State Department ofHcalth's admission that lhc vaccines cannot stop

the sprend of the Covid- 19 virus.

Pfizer',f l11flue11ce
        47.      Upon information nnd belief, one reason that the City decided to pass such
aggressive mandates and keep them in pince so long despite the scientific comensu;; that they could

not slop transmission was due to politic:tl und economic pressure and/or incentives from Pfizer, I nc

("Pfizer") .

        . ,_48,,.,._ _,_
                      Pti1cLexcrcises significant finan<;ial influence in New York City politics.

        49.      Pfizer is he11dqunrtercd in New York City nod was the only phurmaccutjcul company

to gain FDA approval of their Covid- 19 vaccine in 202 I.

        50.      The DOE Mando\c wrulmecl to coincide with Pfizer's receipt ofFD/\ approval for

1)1c firs\ licensed Covid-19 vacQine in or around August 2021.

        51.      Pfizer is 11 maior donor and employer in New Y o r ~

        52.      Pfizer donated money to help elect Mayor <I~ Blasio,

        53.      Pfi1cr also donuted money 1hat went to help elect Mavor do Blasio' s successor, Eric

Adams.

        ~ Pti7.c.u llso donated money that w~_to be civen to the DOE.

         $.5.    Upon infonnation and belief. both Mnyor de Blasio and Mayor Adnm~ own stock in
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Pfizer.

          56.    Pfizer's stock prices would be significantly impacted by the amount of vaccine

uptake in the first two quarters after vaccjne iumroval <ending September 30. 2021. and Deccm ber

31. 2021).

          57.    ll ha,~ been wcll-documen1~ tbat vaccine mandates jmruiet Pfizer's stock prices


          58.    'I he Key to NYC and DOE Mpndatcs were the first "no accommodation'· employee

vaccina1ion mandates in lhll CQ\mtry,

          59.    Upon information and belief. eliminating, or at least vastly reducing. the availability

of accommodations to vaccine mandates. was part of pfi7cr's husim:ss model.

          60.    Pfizer knew. before lhc Mandate went into efTcct. that its vaccine was not e{fectjvc

against 1he new strains or Covid-I9. including Delta and Omjcron strains.

          6 1.   Aggressive vpccine mandates could help ensure that the vaccine would be profitable

as people began to realize that \he vaccinated werecatchingCoyid-19 as readily as the unvaccinatcd

- because they would have no choice but to keep tal<ing the vaccines if they wanted to keep their

job~.

                 The City nnd the DOE colluded with Pfi1&r to achieve Pfizer's finunciru.&Q111

          fil,__J.lnon in1Qr111ation nnd belief. Pfizer was in cornmunic11tion with the Mayor's offi~

prior to 1he enactment of the Mandate and encouraged the Mayor to enact aggressive mandates on

or before the end of September, 2021.

          64.    Upon jnforma\ion and belief. Pfizer imd the City attempted to implement New York

City's no or low accommQdation mandate to ~cryc as a model that 9ould.J>.cJ1gop1cd by other cities

afler it was established in New York City.

          65.    Pfizer agreed to give th1:: NYC DOE over one mill ion dollars in 11rnnt$ afier the
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mnndatc was jmplemented.

Lqbor Disp11te~· am/ Law.mit.v

          66.    Whatever the motive. New York Cjty labor unions unanimously decried the QQ.!;

Mandate from the stan ps reckless and unlawful and nnnounccd thal 1hcy wou ld be taking legal

action.

          67.    Leaders from all mnjQU!!l.J1acted...!!..!lions. as well a~ the Muajgj,PJ1l Labor Committee

("Ml.C). and leaders from each ol'the member unions oflhe MLC all put out statements that tho

DOE Mandate violates basic legal rights.

          68,    Muss orotesL~. lawsuits. ancl labor djspuJes ensued immcdjntely uoon thJ;
nnnounccrnent of the Mrmdute.

          69.    On or abmJt September 9. 2021, the MLC and si:,.teen unions filed ll lawsuj) l'"M LC

Litigation"} in State Cour(. challenging the Mandate and the Defendants' refusal to consider

reasonable accomm.Qdati2n:i.ruJru1<11'.lt to their statutorv dutic~.

          1Q,__On,_~_~pten1ber, 14, 2Q21, the Supl'eme Court, New York <;;0~1111:x, issued a temporary .         Formatted: Not Expanded by/ Condensed by     _.=)
                                                                                                                 Formatted: Not Expanded by / Condensed by ~
restraining order ("1 RO''} enjoining the City from enforcing the Mandate "solelv because the

Q.erui1:.ti:ncnt of I l ealth and Mental I lygicnc Ord5:r's mandate did not rcfel"encc the possibility of any

medical or roligiou~ exemption." The New York CiD• Mun. l.qbor Co111mi11ee v. The (ily ofNew 1ork.

No, 158368/202 1, 202 1 WL 4502854. at •2 {N.Y. Sup. Ct~               22,.202 .l ~ml+-1                        ·{i:ormatted: Not Expanded by/ Condensed by


          71.    The next day. on September 15. 2021. the DOE Mandate was rescinded 11nd reissued.
with an amenc!mcnt clarilying that " l n)othing in this order sliall k ~..Qn$1ru!;!.I_ to prohibit any

                                                             2
reasonable accomn1oda1ion otherwise required by law.''




i The MandtlYLlvaa also further omcnded Inter io flcPtP.mb.et.202 t. but not substuntivelv for pun,oeee
of thle Petition othtttbau to push back the cffc:ctiye dntu!Ul..rl:Jlult of furthor lawsuits.
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        72.     The New Y.Qrk State Supreme Court accordingly vacated the TRO. stating that it was

"obviatel cl)" by the Commissioner'~ amendment qllowing for rc1igious and meclicnl accommodation.

Mun, Labor Comm/1/ee, 2021 WL 4502854. at *3.

        73,     What was not before the Court was the Oefcndants' religious nccomm odation

~ s . whjch were clearly defil&_ned to try to evnde the DOE's responsibility to con~ider rcligiou~

accommodation in good fbith.

DOE /n,p/ement.r twd Ratifies the "Strlcke11 Sf(lnt/(lrtfs"

        74.     In a parallel proceeding. the United Federation o(Tcachcrs ('·UFT"), Local 2. AFT.

/\FL-CIO /" lJFT") filed a Declaration of Impasse on September I , 2021. contending. nmong other

things, that the DOE's failure to provide religious and medical accommodations was unlawful and

t.hfil..tb.i. DQE fu11her failed to afford due process regarding job and bcnclits pro1cc1ion.

        75.    On September 10. 2021. an impuc1 arbitration dccj~jon wa;; rendy1·ed by A rbitrator

Martin Scheinman re~rniring that the DOR provide UFT members with reasonnblc religious

accommodation. [Exhibi t 1 not offered for the truth of the document, but to show whnt the policy

saidL

        76.    Sub~equcntly. A rbitrator Schcinrnan issued materially identical awards covering

Counsel of School Supervisors and Administrators ("CSA") emplovees and District Cuuncil

{"DC37) DOE employees.

        77.     Tilc poj icic~ nrc collectively referred to hereafter as the "Stricken Standards'' since

they were luter struck down as unconstitutionul bv the Second Circuit Court or Appeals.

        78.     The arbitrator, Martio Schcinmnn served as a major donor and fundrais1,r for Muyor
~Blasio a119J1is neutrality is and wus contested at the time that DOE adontcd tlw Stri~ben~ndnrds,

        79.     As a th,·cshold mutter, the award required both the DOE and the City to pllow for
religious accommodation.
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        80.      It lUSO provjded that the prntics could citl}Qr JJ.Se "any other statutorv rcu:;onflhlc

accommodation process'' or the Stricken Standards set forth in the arbitration award.

        81.      Specifically, the arbitrator began the opinion by stating that: "As an nlternutjye to apy

other stalutory reasonable accommodation process. the City. the Board or Education or 1he City

School Qis.trict fort he City orNew York <'the DOE') and (the UH) shall be subject to the fo llowing

Expedited Review Process to be implemented immediately ... "
        82.     T he Stri cken Standards were clearly designed to deny most applicants by

unconstitutionally n11rrowing         Lhc definition of what belief's could gua)jfy          for rcligiou~

accommodation.

        83.      On thcjr face, the Stl'ickcn Standards express denominational preferences and

categorically exclude most religions from protc<,liQJllllld access to accommodation.

        84.      for example, the Stricken St~lll!ards provide the fo)lowin~ criter j;1 for determining
whc, could access accommodation: " religious cxcmplions for an employee 10 not udhere to the

mandntory vaccination policy must be documented in writing by ii re!jgjous omciaJ (e.g., clergy}.

Requests shall ~ denied where l he obj ection is personal. political. or p,!liJosophical in nature.

Exemption regucsts shall be considered for recognized um! established religious orgnnizations (e.g.•

Christian Scientists)." Stricken Standards al 9.

        85.      T he language in the above quoted paragraph was al mo~1 entirelv drafted and proposed

by lJefondant~ artorncys.

        86.      Multiple problems stand out jn this definition ol'wh at constitutes ~o-eallcd acceptable

religious beliefs.

        87.      Fir~t. thi; policy ruvors Christian Scientists. predefi ning Ch ristian Science   as the QJllv
cnumeratccl example of a "recognized'' and "established religious organization.'' This gives Christian

Scientists 1111 11nf11ir advantage,
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         88.      Second, the pol jcy re®ires the sovernmcnt to decide which other rcligiQ!1S than

Christian Scjencc are "recognized'' as ''established religious organizations.''

         89.      Pursuant to the Stricken Stnndnrds. if nn applicont belongs to a relision that is not

deemed "established" and •'recogni1.ed" by the government employer. whatever that mcn.ns, the

person must be denied.

         90.      Defendants knew, or ~hould have known. that the govcmment cannot "establish..

which religions are •·recognized"' and thus valid and which arc not "recognized'' or "cSlablished" and

fil!!i invalid.

         9).      Thi rd. the poli cy al~o provides !hut religious 1)hjcction based on personallv held or

" philosophi cal'' religious beliefs must be denied,

         92.      B ut under the federal. state, and local standards, personally held or unorthodox

reli gious beliefs urc ju~t as 12rotected as those that arc endorsed by oniciul ch1tr ch dogma.

         2l._ In fact. even morn! or philosophical beliefs arc defined by the EEOC and governing

law as expressly protected religious beliefs, hut under the Stricken Standards, they were excluded

fro m ~ on even if the beliefs were sinccr9ly held.

         94.      Fourth, the Stricken Standards require thnt the religious objection " must be

documented in writing by a religious official (e.g. clergy)."

         95.      The certification requirement di~crim inatcs against those;w1Jopmcticc religions thal

do not bclonlUQ.JI hierarchical organi:1atj on or who have di[e.w,t r()ligious beliefs thnn their pa.'ili?r

or church lender.

         96.      Defendants were on ncitir,.-c that the clergy rcgujromcnt was illegal.

         97.      It js long-cstab!ifilled l a~in N~w Yor!cJhat governments cannot re$l!!ir9 a person lo

show a clergy letter or belong to an "established religion" to h«vc their religious beliefs protected.
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See. e.g.. Sherr v. Nonhport-£. Nor/hport Union Free Sch l>M,.._{>72 F. Supp. Rl.._2.2 <E.D.N.Y.

l.2lli
         98.     Fifth. the Stricken Stnndards require that. even if the DOh were to determine n person

docs belong to Rll "establjshcd" and " recognized" 1·1.:ligion. and thnt rcjjgjous organization provided

ll cle!rgy lcller, the npnlica1,t must still be d~nicclif the --1c11clcr" of their faith has publicly c,:xpress~

fil!ppor) for vaccination.

         99.     " Leader·• is not defined inthe Stricken Standnrds. but in practice, the DOE repentedly

interpreted lhis concept broad ly 10 d!iny u~mmodation to wbglc categories o(rcligious employees

hascd on Dctcndants' assumptions about who the leader ofa r11ith might be.

         100,    Pursuant IQ these determinations. DOE representatives repeatedly asserted tlml 1tll

Jews. Muslims. Hindus. Buddhists. Cathojjc~and even non-denominational Christian;; other lhnn

Christian Sc_i_entists had to bs: dcnjcd.

         101.    In sum, the DOE conditioned access to nccommodmj1111 based on membership iQ

preferred rc\jgious orgnni7ntions.

DQE s/w111etl atldil/01111/ half faith by initi11ll111len11i11g 100% of(lppl/c1111ts witlto11t review.

         102.    Notwithstanding thru the SJricken Srnndards already WM designed to cotcgoricnlb

dciw most applicants, DrJlendan1s applied the Stcickcn Standards to exclude even more employees

from protection than the discriminmory 12.olicy allowed.

         I 03.   As bnd asjhc SJricken S1andnrds were. the one thing tlmUh.c [Jolicy did for employees

was to gupruntce that thi.. DOJ~ had to ,;rant religious accommodation ifon applicant qualified undi.:t

it~ criteria.

         104.    fhcre was no provisiQn l~nJlm:. hnrdshi[l. under the S1[ickcn Standards.

         lQS.    Rother. pur~uant to the nrbi1rnlor~· order, at bolh the initial DOE review nnd in the

nppenls, 1111:x: applicant who 911ajiticd "within the specific critcrla identilicd above ~111111 be permitted
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the opportunity to remain on payroll .. .''

        106.      The Stricken Standards upplicd hoth to the DOE's initial determinations and to tht.:

nppcals to the arbilrntot

        107.      However, within hours or dnvs of submitting their app)icntion. every single apolicuot

who initia!!x.applied under !he Strjckcn Standards recelved,~dentti-kt?her-the same uutogcne1111£Q _.                                LFormatted: Not Expanded by/ Condensed by
email, stating;

        Dear !NAME).
 +8-:-We have reviewed your JlPPli~tion. nnd supporting documentation forJIJ.e.ligious                                                    Formatted: Font color. Black
                                                                                                             \.-..                        Form;1tted: Font c-o-lo-r,-B-la-ck.
                                                                                                                                                                           _ N_ot_ E
                                                                                                                                                                                   _x_pa-nded by/
                                                                                                               ,:·.'                      Condensed by
                                                                                                                ',.:\ .
                                                                                                                • • Formatted: Font color. Black
        Plaialt+HIJ~pealeEl_fr.Q'1!. th.e deni~eioDQ!; CO VID-) 2va~a!JiilllC. Your application •· \'• - ~ - - -
        has failed to meet the criteria for a rcligjous based accommodation.                   \ \\·. Formatted: Font color. Black, Not Expanded by/
                                                                                                                             1
                                                                                                                       • \       .        Condensed by

        Per the Order of the Commissioner of I lealth, unvacejuated employees cnnnot work in a                 \ '· \ Formatted: Font color: Black
                                                                                                                 \,                  ',
                                                                                                                                                                                           _]
         Department or Education (OOE) building or other ~jtc with contact with DOE ~tudcnts,                        ,1 \ Formatted: Font color. Black, Not Expanded by/
        employees. or families without po~ine a direct threat to health and safely. We cannot offer
        l!nQ.\.her work site ,L~ an accomnJQ..dat ion us that would i111P.QSC an undue hnrd:;hip .{i&_more
        1han a minimnl burden) 9n th~ DOE and its operations.
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       $ipcercly. f/R Co1111eci.Medicni. J.eaxos, and Records Administration                                                                                               --
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        Please do not reply to 1his mcssa~c vja e-mail. T his em nil address is automated.                       \                        Formatted: Body Text Justified, Indent: Left: OS, First
                                                                                                                                          line:   o·. Right: 0.08", Space Before: 0.05 pt, Line
        I 08.     Those who applied on or before the dcadljpes set forth in Iheir union' s version of the                                 s~n[2!ngle_ _
                                                                                                                                          Formatted: Font: 12 pt, Font color: Black. Not
Stricken Standards had the foUowing ndditional language tacked on;                                                                         EK anded b\'.l Condensed by _ _ _ _ _ ___,


        This application wa.~ reviewed in accordance with applicnble law as welt as the Arbitration
        A~·ard in the mutter of your union and the Boord o(Education regarding the vaccine mandate.
        Under the terms of the Arbitration Award. you 1m1y uppcal this denial to an independent
        nrbitTator. If you wish to appeal. )'Ol\ must do so wi1hin one school day of this notice by
        logging into SOLAS https://dhrnycaps.nyccnct.cdu/SOLAS and using the option "I would
        like lo APPEAL", As PilII of the appeal. vou mny submit additional documentutjon p n ~
        provide a reason for the appeal
                                                                                                                                          rFormatted: Right 0.08", Space Before: 0.05 pt~
                                                                                                                                                                                                    _j
        109.      In addjtjon to fur.a-.violating the arbi1ra(Qr's award, the autogcncratcd denials                                       ~ pacing: single _ _ _ _ _ _ __


violated statutory standards in multiple ways.

        110.      first, the DOE did not engage in apy good-faith individualized attempts to
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a.ccol)JmQdatc employees before issuing blanket ''\lnduc hardshJ.p" denials to 100% of applicants,

        111 .   No one at the QOF, individually reviewed any of the applieutions before sending out

the outogencratcd email s denying accommodation,

        112.    Appli cants were not contacted by any person at DOG lo discuss their applications

before they wcro denied.

        113.    No cooperative dialogue was offered or took pince before the denials were lli!l~

        114.    The same or substantially the same emai l was sent to all applicants.

        115,    The DOE also sent oul the same email to employees who were already approved lo

work remotely nnd \hose who did not have student-facing jobs,

       ~\\:c.Q.nc!.Jhe denial incon·cctly states that thu MEIDd~        id not allow DOE emplovccs

to work in person.

        Ip.     It was not true that the Mandate did not altow DOE employees to work in person-

o n the contrary. the Mandate had been c;-;prcssly amended to allow for religious accommodalio.n.

whjch would include in person accommodation if an emplovcc did not constitute a direct threat that

£2!!!.g not be mit igated through renson11hlc accommodatiQ.!h

        118.    The Stricki:11 Standards and the DOF.'s own policies show that DOE understood thnt

thc Mandate did not prohibit 1hem from oflering in person aocommodntion that would expose

employees to other covered personnel ,_

        119.    For example, DOE arranged for employees to work unvnccinnted around other DOE

employ1.-es from clne o f the remote work locntions thul the DOF. sot up for those accommodt1ted

yndcr the arbitration awnrds. or from an odm inistrntive building, even though the DOE' s undue

hardship denials stated thnUh~l!Tldatc proh ibited employees from ~ki!!&Jlround other DOE

staff unvaccinatcd.

        120.    Ultimately. 1hc DOE admits it accommodated at least 163 persons in this manner,


                                                                                                 -W
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~Qn1e of lhcm !cacher~.

        121.     And one or more unvaccimllcd tcnchers wen; even knowint,:ly gllowed by the DOE

to go back in person to teach their class in person with students while \he Mnndnte was jn e{Tcct.

        122. No1hjng in the Mnmlute provided juslilication for ll blanket ban on in-person
aq:ommodnIion without individu11liz!(d analysis of the statutory factors lbr each employee.

        123.     By l;iw. c1.nmm:s:rs beur the burden 1,)fproving thnt an o;:mplO)'CQ js u din.:ct tl}Wll_nnd

of proving that no reasonable ucco111modnti1.in could be mode without undue hard~hip.

        124.    Neither the DOE nor the City met this burden.

        125,     Th ird. the deni.1ls pdmilled-on their _face - lhnt Ocfend;ml~ applied the wrong lctml

stnnctarn_fQr RSSCSsing whether accommodation would pose !Ill p11due_hardsll.ill,._

        126.     The denials stated that Dcfcndanls used the "more than a minimal burden" (de

111i11imi.vl swndnrd.
         127,    Linder the SIJRI, and C'IIRI.. the employer bears the byrgen of proving that

~odation would create a--si&nilicant" burden or cxp1;nsc, and under Title Vil, the employer

must prove subsrnntinLJ1ord_~bi.P_,_noI de mi11i111is hardship,

        128.     Pursmml IQ federal, Male amt local tuw. employers also mus! prove that 1hcy made

the undue hnr{lship detcrminnlion nftcr assessing specific Hatu1prv criteria, u~ing the best available

evidefil.~., nn n good•failh jndividuuli1cd basitll!;fQT.Qoenying on npplicnnt.

         129.    For example, under nil three statute~. if the h_ardship hos to dQ with asafolv concern.

the, employer b.:e,·s the burden of provrng pn on incliyidualizcd bnsis that on employee would pclS£

o direct Jhr911t hcfon: scgresating them or imposing any adverse eml,loy111cn1 coo~gqucncc on them.

         130.    The direct threul nnulysis c,Innot be specufnlivc or gc-n~tized. Rother, under the

CtIR 1;, "The employer musunnk_c_an i_nc!.i vidual i7,ed asscssmcnt.J!11scd on fCljSOl11lblc judgment tlrn.t
relics 0.11 gi_rrent medicul knowledge or Ihe best available objective ipfonnnlion. to ascertain: the
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nature. duratioo_anfl_scverity of the risk: the probnbility that potential injury will actually occur: tmd

whether reasonable accommodution. ~uch as modification of policies. practices or procedures, will

mitigate the rjsk,'' 9 CRR-NY 466. I Hg}(2}.

        131.    Similnr analysis is rcgujrcd under the SIIRL and Title VJI.

        132.    Dcfondants dhl..not make any good faith attempt to jndjvidually fi/lt1ly1e these or the

other required statutory factors for MY npplicant before conclusively denying (hem          an based on
alleged undue hardship.

        133,    fhe best-available objective scic11cc a\ the time did not support R blanket policy that

in person nccommodation was ~!l..IDl'CCt threat.

        134.    The DOE did not prove or individually assess whether any employee was a djrcc\

threat due to their vaccination status before sending out the autogcncratcd blanket denials.

        135.    The DOE did not prove or individually a~scss whether it would be un uod11c hardship

to ,Provide reasonable accommodation for any employee deemed a direct threat before sending ou\

lhc autogcncratcd blanket denials.

        136. Some employees were already working remotely. or could have ca~ily worked
remo1ely. when they received the blanket undue hardship denials.

        J37.    Most of thos1; who ret.-cived thLcmail denial had already been accommgdated to

work remotely in the past and could.Jmve easily been occommodated to d o ~iJI.

        138.    And all employees could have been easily accommodnled in [)CJ'SOn or remotely, as

they had been for the entirely of the pnndemie, without undue hardship or safety concerns.

        139.    DOE employees scckjng religious accommodation from the Mundatc did not po:,c n

threat to anypnc; based on their Y!!~~_ination status and could h<Wc been accommodated without

undue hal'dship.

        140,    The vaccines could not slop tmnsmission.
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        141     Moreover, even i(..Qtvid-I9 v,,ccjncs could mciminplully stop transmission. jt js

illogical to mnn_@rc vnccjnation for only u small frnction oft he school oopulntion.

        142.    It m11kc~ no scientific sense to say that one million ,tudents co~ld snfcly come to

~ool unvnccinated, riding in husses with unvaccin11ted school-district employed bus drivers (who

~ i ; ~ from th~ M!ln.Q11Jc due to staniQg.conccrns} and commingling with thousungs of their

unvaccimucd peers. b\!!.Jh.!!Lthcy would i;uddcnly be in severe danger just because one or two

teachers in the huildin11 were also unvnccinnted.

        143,    If being in proximity with El few \IOV!\<;£.i_nntcd people ~ l a ~ver~J~e

rule should have applied univ~ally to cwryone in the O(>I).l!lation.

        144.    A few extra unvaccinatccl people in each building cou ld not mnki,: pny difference 10
herd imJ.11!1nity when the bulk of the [lQQU!ation in that building are ynvaccinated as well.

        145.    By the fall of202 I, it was al~ady wcll-under;;tood that the Covid-19 vaccines could

!J.Q~Cr(I imm.ll!li.!.Y llQ.ITllltlcr whnt percentage of thl: pQ[JUlation.mls_Y!\rulill!M,


        146.   As one of many examples. a 202 I llarvnrd Study showed that there wa~ "fill
discemablc relationship between percentage. of the population fully vaccini!_~d and new Coyid-19

cases.~ Subl'amuninn S. V. nnd Akhil Kumru:. " Increases in Covid- 19 are unrelated to leveb pf

vaccination ;tcLQ.Ss 68 countries l\nd 2947 counti~_ in the U11i!e!f States.·· European J!JJ.!!JJ..a/_g.f

Ep/demlolog1 1, 1-4. 30 Sep. 2021, doi: I 0.1007/s I 0654-02 1-00808-07.
        147.    Even in 2021. the great weight of the evidence showed that unvaccinntcd employees

did not constitute adirect thrent und could be easjlv accommoda1cd.

       ill.._ l.&fcn_d_ant~~ r.~!1...n2!l£c..Q(Jhj ~

        149.   Defendants were also on notice that the de minimis standard did not aplili:.J:!g_~

thev fired Plaintjff end most other unvoccinatcd employees for fai ling to yjolatc their n;ligjou~

beliefs bv getting voccinntcd.
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         ISO.    Attac~ inc.orpornted herein by l\;fcrence ns 1( (uUy set forth hcrcinJre sworn

~ l i ons submitted in related litigµtion at various relcvanLJ.ig_ints from public hcpllh experts.ill

John,; Hopkins <Exhibit 2 - Qr. Makary}. Yale {Exhibit 3 - Dr. Risch). and Stanford <Exhibit 4 -

Dr. Bhottachmya).

        IS I ,   A~hc declomt jons pqint out. the gr,;ilt weight of the objective science. e,en nt the

time the Mandnt\i WU~ imposed pnd shortly thcrc;i ncr, showed the vnccinc could not ilim

transmission and did not offer robust or duruble protection from infection or symptoms.

        I 52.    The dcclnrations_est<!blish lhuU)OE employees did nQ!.msc udirect 1hrc11t and_~oul~!

have been occymmodnted in person.

        153.     Moreover. the v11ccines were still at nn cxperimcn!11.l.ill!&!;..

        154.     There wus insufficient datn uvnilable to determine what the risks and benefits were.

or that p bcne!i1 ovcrmdc r isks to p;u:Jicular people. espgcially those w ith underlying health

\:.Qn~i!ion~

        155,     And. though Pfil..er's vaccine was bl!ing rushed through for EDA ppproval, Pli~r

did not nctunlly oQcr nny of the f l)A approved vaccines in New York Stotc,

        I~ .     I t wris not po~siblc 10 obtain un f'DA approved Covid-19 vaccine in New York State

at any time bclwcc11..A!w1st 2021 through ~ ntember 2022,

        157.     rhc only uvpilnhlc vaccines that P07er mode nvuiluble in New York State during

this timeframc were thQs£J!l1thori,.ed under l;,mcrgency Use ,:\uthorizntion {"RUA").

        158, EUA vaccines cnnnot be mondntcd._Ql' the tcm1s of their authorization,
        I 59,    Additinnallv, children hnd (he lowest rjsk from Cpvid- 19 orony pooulntion. nnd their

ri~k of scvcr_c hnr1J1 from the dj:,ca~c mis so low ns to be statistically insignificant.

        160.     Tellingly. every other schcl<l! district in the state. including m11ny nci1,1hhoring school

districb on Long Island, which h;id nearly identicnl populations of students and staff. allowed
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1£!1cher:> to test wce!ly in lieu ofvuccjnatjon thmughout the pandcmjg.

       161.     These other school di stricts did not sec any st.ilistically si gnificant incrca:se in

infection rates from the infection rntcs il\ the NYC DOE afier lhc DOE's Mandate went into cm.1ct.

       162.     M oreover. there were numerous additional measures that could have been taken.

including bul not limited to weekly testing, symptom checks. or other protective measun,:s, each of

which could !Jave miti gated any perceived or actual in~rensed risk of 1r.ansmission from

unynccinated employees.

        163.    Remote accommodation would not have been asignificant hurdshin either.

        164.    Every PlaintilT had previously been accommodated remotely for short or long

periods of time during the pandemic.

        165.    The Mandate was supposed to be atemporary emergency measure (and indeed. did

have to be continued or renewed repeatedly throughout the year and a half it was imposed).

        166.    The DOI. had accommodated wid«,:sprcad remote work for the past year und a hair.

and the DOE i,;ould have continued to allow those necdjng religious accommodation to work

remotely.

        167.    Despite the DOE's urgumcnt that they had moved most instruction back to in person

in 202 1. the DOE continued to prov ide a parallel remote program fbr mnny students throughQu\ the

2.Q.ll-2022 schoo l yeac

        J68.    T he DOE could have accommodnted cal \cast some classroom teachers who needed

to opt out in lhis remote program.

        169.    Indeed. the DOE continued to advertise vacancies for ond hire remote teachers

thrQughout the 202 1-2022 school yenr, cvc11     as tl.1£Y£laimcd jt ~wld be nn undll\f hardsbip JQ
accommodate any unvaccinatcd DOE teacher remotely.

        J 70.   T here were other ways that DOE employees could have been accommodated
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through remote work as well w ithout ~igni_li cant hardship,

        17 1.   For example, before sendins out the den ials. DOE set up buildings specifically for

remote wnrk for those who would be uccpm modnted undyr the Stt~icken Standards.

        172.    A t atl tjmes relevant to this Complaint, those bui lding stood largely empty ar,d well

below capacj\y.

       17_3,    Teachers and parap,·ofcssionals could ha'8).. worked with n co-teacher (which mnny

already had) and pushed in through Google Classroom (from home or the remote worksitcs) to work

w ith i ndividuals or groups or modules throughout the duy.

        174,    There was also plenty of work_fuat could be d\1no th!lt did not requi re in person
presence that j hcy could have been reassi gned to tempwarily until the "emergi.ncy" was over.

        175.    Upon information and bclicC the summary blanket denials were issued to demoralize

and hams:; rel ig ious employees, w ho goj the message. loud and clear. that OOE was not acting in

good faith.

        ill.__l~mnloyees lwd poun;d 1hcir hearts out into tfutlr religious nccommofilltio ~

which is a vulnerable thing to do.

        177.    They were given only n few days to commit 1hdr most sacred inn..:rmost thoughts to

mmcr, and to gather a clergy letter if they could,

        178.    Receiving an autogenerated res122nse. almost immediately. w ith a boilerplate denial

from a " donotreply" cmaj l address felt like a mockery of their foi th pnd showed many employc<;s -

both the recipients and their colle11gucs who were considering whether to appl y or liligatc - that

fur1hcr efforts were fotilc,

        179.    Tellingly. mony who N,:ccivedJ!,1, aµtogenernted un$luc harfilhiJlilcni_a]!; d[lj_pot even

work in student lacing posj1ions- or jn person at all in some coses - in the Fall of 202 1.

        I RO,     But these remote and admjnistrntiveemployccs still received the same autogcncratcd
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cmajl t1s~i;rting_J_h_cy were denied because lhlc....M@.f!.nte did n<>l allow c111rilqx_ecs to work

unvnccinated around s1udcn1s,

          il I,   DOE's initial m1togencmt,;d dcniqls stated, 01, their face, thilt Ibey w~rc issued jn

accordance with the Strid:cn Standards.

          JjL__.111!!...PJ!wnnt to the Stricken St.indnrds, DOE wns not authori:t,cd tn dcqy_s1_111·

annU~ant based on undue hardship,

          183.    Rather. the Stricken Standnrds. which were supposed to aopl, (per the policy} to

both the jnitjal DOE review and lhc 11pps,al~ to the arbitrators. hud no p1cchaui~m for undue hardship

denial.

          184,    According Lo the Stricken Standards, employees who met the defining critcrio for

guahJ\ing religious beliefs "shall be" nccommodnrcd.

          185.    The DOE's decision to violate even the one helDtiJI nspcct of the Stricken Standards

by pronctively dcnvin~ 100%           or the nppliconts th1·ough an gutogencmted email prc1cxl11ally
ns~crting "undue hardship" shows ,1ni111us aqcl bad fnJUrnD-9 lends ton rcason,1blc inf~rcnce that all

~ubscquent relislous 11cc1.1mmod9lion decisions and uotjcics implemented bv DOE were prctcxtual.

TIie DOE refiueli to 11/low 1111111v l.'mplo►•ees to appeal tfleir tfe11;alr

          186.    'l11c DOE's pgli5!iCfi...J.!1f\de ii very ditlicult J'or liOlPIOYCCs tSLJU)ply for rcligi.ID.!£

acco1mnod111ion and ~y_cnJ1aJ.'Q.cr to appeal their dcninls.

          187.     fhc Stricken St;mdards were not widel): nnnQlll)C\id, Ol]d deadlines were not clearly

explained 10 liJDDlm'l,;£.'i..

          188.    Many employees were never told when the "d.:ndlinc" to upnlv lbr rcligiou~
accommodation wus....nnly tha1 they hud to get vaccjnatcd bcJ01_~ September 27, 2021. and rh1H th.is

deadline was later moved to October I. 2021, due to the Second Cjrcujt's temporary restraining

orclcr issued i11 Scp1cmbcr 202 1.
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       ~ h e deadlines were nls-2.irrclevant.

        190.    In truth. pursuant to all three accommodation statutes. an employer cannot impose

an arbitran• cutoff deadline to apply for religjous accommodation.

        191 .   Rather. the statutes e11ch specify chat the employer has an affirmative obligation to

accommodate an employee or prospcclive employee's religious practices when the employer

knows, or should know. thnt the employee needs aeeomtn.QQ!!.fum. whenever that may occur~

        192.    Each one of the various al'bitration awards provided a difTcrcpt ..deadline" to get the

expedited review available under the Stricken Standards.

        193.    Each was circulated. if nt all, only a few days before these deadlines.
        194.    Plaimiff and her sjmilarly situated collcngucs were in a state of emcr&ency.

        195.    The s1ar1 ofa new school year is already a hectic time for educators.

        196.    Thjs was particularly hectic. as manv students were returning from II year and ahalf

Qf remote instruction.   and there was quite a bit lo work oyt.
        197.    The DOE's ~ucldcn and aggressive r:umounccmcnJ had DOE employees scrnmbling.

attempting_ to secure loans and contingency plnns in case they were suddenly Olli of a job, misc

money 10 file lawsuits to chal lenge th!;l blatantly unconstitutional religious accommodation policy.

filn around town trying to gather medical records .ind clergy letters. write tong heart-felt lethm that

QQ!!ld explain thojr innermost sacred beliefs IOJ.CCU!ar and hostile strapgers_Jlnd ensure that the

students were taken care o(and that they met their e1'.lcnsive job responsibilities.

        1911.   To make matters worn,;, the SOLAS system, where the applications were ~ypposed

to be uploaded. froze repeatedly, especially during the deadlines to apply or appeal, leaving some

~•n11blc to apply by 1he '"due date.'"

        l99,    T hose that were able to get their applications in before the "due dates" then had on ly

24 hours to appeal their initial DOE denials.
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        200.    Thcse_clcninls were ~em by email, nn<l many c;mplovs;e~ did not sec !hell) within lhc

1w11m;1-four hours ullotl\;d,

        201     Too ollcn. thi: dynjals wen; issued on the Sabhnth 0 1 n holy dm. lcnvin,llthosc ,~jth

religious p111cticcs that forbjd Sobbath work with no Iimi,; 10 anpcal.

        w.      And. Q!J~e agnin, manx cniployce~ ~cr!...!!mb_~,cal. since the SOLAS system

crushed duringJheir brj.illWl9ow _tQJ!QQ£nl.

        203.    Milll\i others lbh jt was futile !Cl appeal. niter receiving DOE's in~ulting

outog1,;n1;mtcd generic denials in response lo their good-fnith und beortlelt uccommodnJ.i2Jl.Ill___qilCStS

illll!J1caring from colh-'.l!fll!~Jh~one was gcttingjhc snmc denial. Cl'cn those ~ho a ~

worked rempwiy.

        204.    Employcs;s that submitted religiou~ ljC@Jilllllldation requests "lute·• were allowed IQ

!!WllY, und wen.: issued fonnnl sknials through n ne_arly identical autogcncrntc~ £.moil as thosc who

!!PJlli£d..!m time.-~ were n_QlilUQ.wi,:d to_apDQ11l,

        205.    /\nd. of course, those who »ere shut out of anpeuling due to problems wjth the

SOI.AS website were nbo denied the right t ~

        206.    Those who did get 10 npncnJ djd not fare nwch hcttc1~

        2Q.Z,   Mo>'t \\CN provid,:d with no c~nlamuion whatsoc\'cr,~cn a pnnlir that had an

"x" n~L!.9Jhc ,,·ord ..Dcni(),d,::

        208.    The decision 11hc1hcr to grant a hearing or not was arbitrary,

        209.    Ernpio,c.:s who (UCI 1hc ~'fitcria in lhc Stricken Stundards were denied the right lo n

henring and dienied wjth no furth('r cxpl111Ju1iQn than an ":s" next to th1_; word "qcnicd."

        ~I 0.   Soini: IIJ)pligmt~ »ere allm1cd o zoorn hearing..

        ll..1_ J'~ wrnppillJ.!!1 rca~_<;>n why ~Olfil! \\CrC grantcd._nnd otlwrs dcflicd.
        212.    A rbjtrutors were given unf1;1tered discretion l\hcther 10 nllow _g_ hcarin_g,
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           213,     Neitht!r POF nor the arbitrators kcpt imy records ~Plaining Ihc decision.lL_and DOE

l!.QITlilled in other lawsuits and position stutcrnr,:nts to the EEOC thnl it cnnnot explain the rens9ns

why some were granted ll hearing. and others denied.

           214.     At the zoom hearings, the arbitrators and DOE re11rr,:;;cntntivcs engaged in what evn

only be described ns heresy inquisitions, in which they dimimin□l~_Q even more zca!ousl,YJJmn lht;

already discriminatofY policy required.

           2 I 5.   For cxamp)c, DOE openly and repentedly took the position thut all Jews must be

~bcca\lSC of II Jenisnh;m Post article statine Uwt aRabbi in Israel WllS ypccioa~

           2I 6.    DOE reprllscntati vcs r ~_a(S:dly referenced 1bis n11ielc_in zoom hcarini:s to as~crt
that all Jews musl be catcgorjcally denied accommodation,

           217,     Jewish appl icanls frn111 related lawsuits repeatedly documented thnl though tll.QY

explained thut their own Rabbi did not shnrc the fsraclj ~;tbbi's opinion, lhot Judaism is n diverse

rel igion, and that n random Rabbi in lsmcl could11sit be deemed the ..lead~' _Q f!!II Jews, t h ~

still told that Jews could not gualifv under the Stricken Standards because o( the Jcnisnlem Post

article.

           218.     Simi1n1:h:...,DJ2!~ also took Ihe repented position that al) Cotholi1.,.~_ha9 to be denied.

bccuuse Pope Frnncis i$ v_nccinutQ!i

           219,     There is substantial debate within the Catholic faitl:!Jike many other faith~. about

whether it is rcligiouslv perm issible to t;ike a Covid-I9 vaccine.

           220.     In foct, a whole councjl of Cathol ic Bi~hop,51tct forth n document a.~scrting that ii is

!ik~,o/ pcrmissjblc for Catholics to take any of the Covid-19 vaccines due to the use of aborted

f~tnl ~)I lingti11_pr9ductio11 vnd dcvcloQ_
                                          ment ofjhc vaccines.

           221,     Moreover. while Pope Frnncis is vaccinated and expressed his public opinion that

voccinntion might be pcrmb;iihl_c despite the connection to abortion. he also instructed Cntholics
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thot 1hcy must each cons\1lt thxit roligious conscjcni:c to 1nak~hc choice ror lh~•n&!~

        222.       Nonetheless. DOE argued repeatedly in the zoom hearings that all Cntholi9 shou ld

be denied because the Cathoti11 Po~ ~as vaccinated.
        223.       001;. maintained thi$ positjnn even if the applicant provided a letter ftnm their own

Priest or n;ligious leader stating that they had n valid religious belief.

        n4.        DOE ~nrcscnJativcs went so far as to ar_gyc in at leps1 one documented case thaU

Buddhist qppljcant should be denied because his views were not shared by the Cntholic Pope even

though the DOE rcprc~..:ntative acknowledged lhlll DOE found his rcligjow; belief.~ sincere,

        ~ 12.Q.!1.r.cp~ivcs 11lso.9n~n argued thnt nil non-dcnominnlional Chri!i,tians other

than Christian Scientists should be denied due 10 the Pope's beticrs.
        226.       Rven in c-0sc~ where apolicnnts submiu.;d letters from their own religious lenders,

explaining that the whole congrcgntion ogposed VltCCioation, DOE argued lhut the Pope·s heiic(s

con1rolled ull Christjans other than Chrb1juo Scientists, and thy mm.l.i£nnt had to bc denied. even if

sincer:91
        227.       Similarly. the DOE representatives routinelv pulled out a lellcl'purporting to be from

a Seventh Day Advcnlist leader to usscrt that nil ScwJJth Doy Adventist;; must be denied.

        228.       And. DOh rcprcsentutives repeatedly argued thnt anyo11c who belonged to a 11011•

9enominatjon11~htistian faith nwst he denied. both bccm1sc the Pope is vuccinptcd .(even 1b.QillUI.

Di1!J..-denominnt ional churches do not foltov. the Pope) and because the nqndenominntinnal churches

are nllcgcdly not "established ttnd recognized.. religious organi.1.ations according to the Dcfendunts.

        22Q.       DOE alsQ.Jlrgucd Lhnt nll Bml<lhists had to be denied because (he Dalai Lama was

vocclnatcd,

            230,   The Dalaj Lame is H spirituni leader of the Gelug ("Yellow I lar'l sect, whjch is on~

of:1t lcpst [our sects of Tihct.tn Ruddhism.
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        fil T_!icrc are 111any other si;c1~ 91'fu1ddhism - pcrh;ip~~n1,9s of other seers. outsid_c
ofCiclug Buddhism.

        232.    Moreover. nccording to soirituol texts. Ouddhn told hi;; fotlowcrs not to toke iiny

lender when he wns dying, hut rather. that each mu~t rely pn the dharma lo examine the truth lbr

the111selves.

        233.    But DOE still rcpcatedlv argued that all Buddhists should be catggorically denied

because the D11lai Laina was vaccinated.

        234.    DOE also arguqd rcpCj\lCClly that nll Musljms must be denied due to the alleged
piscovery of on allci;c<l.:.:!cadcr" of that diver~¢ fnith~!lo was varcinated,

        235.    The DOE's discriminaton: statements nnd ignorant assumptions about fajth were

common and wel1-docun,entcd throughout the accommodat ion process,

        236,    Arbi1rmors oflcn jojned in in the discriminatory positions and comments. accusing

.!!nn!icanls of being wrong about what their faith n;quircd. or essentially, of hying heretics for not

nllegedly following Pope Frnncis pr the D.!ll;l_i_L1_1ma or the lsraclj Rabbi or whoever !hey dcclde9

to dt;cm the leader of1he fajlh.
        237.    DOE represematives cncoumgecl such hnrnssmcnt from the nrbjtratQrs. jojnjnu In

and doing n_oJh!ng to rcmcdiatc the comments when made,

        238.    DOE also cntegoric:.ill) denied several 1ypes ofb¢ licf.

        239,    fapccially, OOb representatives nrgucd thal unv religiou~ ohjcct1op based on

concerns nbopt the use ofaborted tetHI cell !in.cs wn~rcsumptively jnvuli<l.

        240.    The City proyjdcd DOE with a let1er from Ilcalth Commissioner Dnvjd Chokshi, in

which the Commissipncr nfllltcd thnt conc2rnutbout aborted fctnl cells d.Lcl not merit rc!iujous

protcction.

        241.    It i~ well-docu111ented thrtt nbortcd fetal cel l lines were used in the production an!!
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development oftbc available Covid-) 9 vac,cinc~,

       ill,__ poE·s attomcys have admitted they haw no hnsis to comest this fact.

       243.     Mr. Chokshi's qpinion thnt these concerns do not merit rel igious protection is
imi?'irl]liS~ihlc govemmcnrnl 1totnnglemcnt in religious guo;:,tions nnd conslil11les di~cri111ination,

       244.     Nonetheless, the DOI.:. repcatcdlv used Commissioner Chokshi's letter in 1.00111

hcprjng~. arguing that concerns IJQ0U.lth~ use of nbortcd feta! cell lines did not merit religious

protection.

        245.    A fter their zoom hearings. each appli cant received u denial. with no cxph:111atio11

watsocver. just nn ··x·· next lo the word "Pcnjccl,"

        246.    Conversely, at lenst 163 othgr DOE employ1;cs were nccommodUl!id uficr the

fil).minislrntivc appeals, some of them classroom ti:aehcrs.

        247.    llnon informntion nnd bclkl.~mo~t ofth9se cmployces were nccommodt1tcd gllcr a

,zroup of educators filed fur an emergency injunction protecting them from the discriminatory

religious nccommlli\ation policies Oil or about October 4 202 1.

        248.    Upon inlonnotion and belie!: DOE hoped that bv accommodnling some cmployl·es

from various reli gious group~ previously C!ltcgorically denied. it eoukl try 19 defend ngpins! their

obviou,~ and widcsprend di;;crimination.

        249.    But whril~cr the reason. DOE ;ih~cc!.J.hnl i t could nccp11iniodnl12 cmplovces by

11ccommudn1ing these 163 who were deemed to 111cct the unconstitutional criteria applied by DOE

and the arbitrntor~.

        250.    Some ofth.; nccommodmcd classroom teachers were given altern;llive assignment_~

        25 1.   OthCrii \\ ere Rssigncc.l to t,;nch smm: 9(_U1c online slulila)tu,.l.lQ....N.maincd jn_J he

I·ernot1; prognun.

        252.    And mony were aec9111mocl11tcd lw allowing Cor hiring) ;i co-teacher to ~t,w in the
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classroom wh ile the 8£m!J1..Q.{latcd teacher taught via Google Classroom.,

The Cirv qlded, abetted am/ co/lutlec/ i11 DOE's tllscrlmination.

        253.       The City is iointly liable [or the DOE's discriminatory reljgiqu:; uccommodation

policies and prac1ices.

        254.       As fl U1rcshold matter. in 2002. the New York Sl11le LegjslatL1rC granted tile City
"Mayoral Control'' over New York City's public schools. At all times relevant to this Complaint.

Jll!fiUl!.nt to thi s authority. as extended and amended over the years. the Mayor's o.f.fic~erc;_i.fill.d

control over DOE and its operations.

        255.       At all times relevant to thjs Complaint. the Mayor's office worked closely with DOE
to oversee imd direct the reli gious accommodation policies                  and their discriminatoey
implementation.

        256.       The City was also iointly responsible for c11rryin11 out the arbitration award. a.~

reflected in the opening parngraphs of the opinion. which list the City llS a p811y that wa.q required

LO C!llTV out   the StJ'icm_fil_ll_n_qards, [Ex 1 nt 6-7).
        25'7.      The City also 11ctively pnrtjcipatcd in harassing and discriminating against DOE

employees who ~ought religious accommodalion from the Coyid-19 yaccjne mandate, aiding and

abetting vjolations of the sttl)utory pro11,ctions for religious accommodation.

        25&.       The Mf.tror's office and Mayor's ~ I counsel initially directed DO~n.OUQ....QJtcr

any religious or medical accommodmion from the Mandate.

        259.       The Mavor•s office and/or Mayor's legal counsel participated in draning the

proposed language for whnt criteria to use in judging t1 valid religious accommodntion requests.

which were later adopted in the Stricken St!!ruIBW,b

        260.       Upon infonnation and belief: the cri\cria for religious exemption were composed

entirely. or nearly cntirclv. of language and pl'Occdures proposed by the City's attorneys.
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         2fil.,__/\ttQrn~ lac;henholt4 who was. nt nit times rclcv_a..nl.ll2.1his Complaint. working

under the direction an<lfiliidnnce of the City of New York. was ope of the City's attqmeys who

dn1ftcd the proposed crjjcrin ndonted in the Stricken Standards.

         262.     At the time. Mr. Eichcnholtz directed the labor and cmploymcnl litigation group,

         263.    _t\s~l1e~1s ~scn_tially in charg_c orthc City's legal defen~c to the discrimination

charges.

         264.    Aller assisting Dctcndants with blatant. widespread religious djscrimination. bolh in

1.bg__Qriginal DOE policies and then durins the pretcxtual Citywide Panel ..~views" {which he wm;

in charge oQ. Mr. Ejch~ \ffiLJ)romotcd to Managing Artorncy for the New York Cjty I aw

Department,

         ~ r h c City was also intimately involved in directing the DOF, in the implcmentntiQU

of these policies and niding and abettin2 the exclusion of as muny applicants th possible from

occommill!ati~ct Q_n lll!£OrmiU!li.2!.rnl criterjn.

         266.    ln a press hricfing held on September 23. 2021, the day before the DOE appeal

heorjngs began. Mayor de Blasio wa~ nsl-cd how the City intended to implement the religious

exemption poljcies for DOE employees and what criteriu the City would use, I le responded:

        M!u'.!>_r: Yeah, it's a grent 9\le!ition_.__ Than~~-s. And very powerfully
        ~Fweis hnsJ;i~mJ1bundnntly cleJlf thnt then,;'~ nothing in_i;~.ciP..ll!I~
        that suggest~ people shouldn't get vnccjnatcd. Obviously. SQ mµny people
        of all fojths have ~'en gcltjng vaccinated for years and dccndcs. There
        arc, I believe it's two wcll-eAtnblishcd religions, Chri~tian Science
        and .Jchov11h'5 Witncucs that have a history on this, of II religious
        oppo~ition. But overwhelmingly the faiths all around the world have
        been supportive of vaccination. So. we nrc ~aying very cltarly. it'll not
        ~omething ~omeone can mekc un individyally. It has to be. you're
        n stRnding member ofa faith that has a very, very specific long!ltanding ohjection.3
        .   -
         267.    INs statement admits an intention lo cntcgoricnlly discriminate ng11ins1 most
                                                                                                          Formatted: Font: 12 pt


                                                                                                         fFormatted: Indent: Left 0", First line: 0.5", Right: 0",
                                                                                                          Space Before: 0 p~ Line spacing: single,
                                                                                                          Widow/Orphan control
~ r 2f!hc Mayor. NYC, czo21, scotrmbcr 23). Transc1;p_~1~1a
Ayqllabllity (Press c<:lwc], bttps· //www.nvc aov/ofllcc::o(-tbe:roayor/news/644-211trnusrclptmayoc:
d<:-blasla·b:ilds-mcdla•avallabllity
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n.!,igions and !lJJ.b:..ir;mt religious a~ommodntion to members of certain faiths that hnvc "u vcn::.

very specific long~tnndjng objection" according to the Maypr,

         268.     h i~ olso an ndmissjon that the Citv was involved in and directing DOE to

discriminate nguinsl most faith~ in the npocals.

         269.     JC tho City had no inyolve_1ll£.n!.J)1f:.M.ro.:Qr w!llllil.Jllu:c stated thut the City wus noJ
involved. in rcs.PQnsc to guest inns about h!lli: i.U'ill.u.2i.m:.!QJ.l 'eid!<.W.hich tenchcrs to nccomm29m~

         270,     MQ(!,'Oycr. the Mi1yor would not hnvc said ''Wt,'_are ~I\Vjng. very clearly" that a pcrSQn

has lo be "ti member of a fuj1h thot hns 8 ys;ry. very spccjlic foiw11nding objection" but rather
wciuld ~ny the POE \\11sJaki_r_1,g_th!l1.J2o.sjtic1_11._

         271.     "We'' indicate~ the Mayor'~ pprticipation und collusion with this discriminntory



         272.     There is odditio.n_nl evidence;. thar rhe City wa; inlimat1,ly involved in and aided nnd

nbcltcd the OOT•: s di~criminnlory policies.

         273,     The Mayor's oQi~ and/or City's legal coynseLprovid.;d the Iencr from t~

Jerusalem Post to DOE nnd advised DOI; to deny J\,:wish npplicnnts ba,~cd upgn thu1 nrticlc,

         274.     The Mnyor'!i ol'licc and/or Cjty's legal ccwnscl also directed DOI::. to categorical..!.):

exclud9 Buddhists, bccnu~c 0(1h_e Dulai Lama.

        fil.      lhc Mn19r's office nndlor kity's l,1rnl cQ.unsel also directed OOF,Jo deny Muslim~.

bt.:t·nu~c of 11 runclom Cj1y-<lcfincd "leadv( or Muslims who the City hclicvcd wns vaccinated,

        276,      llt!i Mnyor's office lll)u/or City's l,;gill counsel rlirc1et..:d the DOh Ill deny Catholics,

becm,se Pope Fruncis wn~ vnccinntcd.
        277.      Thc_Mayor's ot]icc :ind/or City's lcg;,1 counsel directed the DOE to deny SevcnJ.h

Day Adventists~auslli.!!!!J1llcecd leud~1siti_QQJ,l{11£ll.W}L\\ hich they prnvid~g_Jo tlli.J)Ol1

        278.      !"he Muyor also IOnk an ofliciul City position on religious YJ.IC.~tions. 11nnouncina 10
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th£ press thnt "Pope Francis has blicn abundantly clear thnt there's nn1hing in scripture that suggests

peop le shm1ldn'1 get vaccinated" when explaining \hat the City would not al!ow people with

personally held religious beliefs that differed from the leaders of their faith to get accommodation.

        279.     The City also provided a letter from Commissioner Chokshi to DOE and the

arbitrators and instructed them 10 use it !.QJ!cny those with religious o)ljQgions based on the use of
aborted fetal eel! Iines.

        2~0.     The Mayor und/or City's legal counsel also directed DOE to deny all personally held

religious beliefs.

DOE'.~ rellgio11s accommodatio11 po/Jc/es declared 1111comtit11tiom1I,

        281.     On pr about September 21, 202 1. a group of educators brought a proposed class

pctjon Jaw~uit against the City and DOE, titled Kane v. de 8/asio et qi, in the Southern District of

New York arguing, among other things, that the OOF.'s 1·cligious accommodation Volicies were

unconstit\ltional,
        282.     This verified complaint, which was served on the Board of the DOI"; und the City.

notified both Defendants that the Stricken Standards were discriminatory and violated the rights of

all DOE employees seekjng religious accommodation.

        283.     Both Defendants ncknowledgcd rcccipl,Qf the notice by cntcrinll the Kane v. de

/-Jlasio ca~e.

        284.     The Complaint wns timely served on the Department of EdycationJ!rld the City of

New York.
        285.     Multjplc other emplovees also served notices ofclaim. alerting the City and the DOE

of clatiSWidc cJrums that needed 10 be atfu!stcd. and fatal problems w.h their discriminatory

religious accommodntion policies.

        286.     Ph1intiff also served nn EEOC claim on Defendants in or around October 202 I.

                                                                                                     36
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which serves os functional nQ!ice of her claim~ PS<liust DOE and the City.

        287,    Neither Defendant adjusrcd tbc class wide cloirns pr Plajntilfs individual clnims

wjthin the st1Jh.1tory period.

        288.    ln November 2021. the Second Circuit Court of Appeals held. first in a motjo11 panel

and then a merits panel. 1h11l the DOR's religious accommodation policies were uncpnstitullonnl,

and the pluintiffs were likely to ~uccccd on the merits of their clojm am.I.deserved injunctive rolicf.

        ~89,    t\s the Scci,md Circuit pojnted out. the rs;ligious exemption criteria in the Stricken

Standards urc blnlantly unlawful.

        290.    rirst. the Court he.IP that DOE's policic:; were 001 pcutrnl. pointing out thnt i.ujQl!lt~

the most basic governing standards of state and fod£ml low to discriminate against those with

personally held religious bcliQfk or denv accommodation bnsccl on someone else's religious beliefs,

even the lc@tlc1· of one's own faith.

        29 I.   The Co11r1 portkvl!!rly chasti1iod the Dcfondnnt} fo~ing C111holjcs 1111d other

Christians just because the Pope was vnccinntcd,

        292,    Second. the Court held that the policies were not gcnerallv applicable. as Defendants

had discretion whether to grunt accommodation,

        223.._____Ilte Court rejected Dcfcndnnts !)!tempts to pjn the j)lcgajjty on the arbitm\nr~ or IQ

flW.10hat Kane plaintiff;; had to ~!c !l1Ll!nion. not the DOE and t h ~

        294.    Nothing in the urbitration award, or in the governing collective bargaining ngrccmen\

wajved emplovccs' rights tQ~l lengc the religious discriminotlgn inflicted by DOE or tho City in

~

        295.     Both Dcfcndunts knew or should have known._ thnt the Stricken Stam;larc!La.@

blatantly unconstilutjonril. und that lhc Govtrnmcnt cnnnot mnke or enforce unconstitutionnl

policies. nor cm, it encourage, aid or abet discriminntion,
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       296.    No1withslanding the obvious ill£!W.li!Y..Qf_the Stricken S1andurds. thy DOE adQPJcd

11nd enforced \he policy to decide religious accommodation requests to the Mandate and 1he City

participat.:d in nnd was complicit in these discriminatory denials.

       297.    Jo Kane, in the proceedings before the Second Circuit, Defendants' attorneys
,l¼dmittcru_hat the religious accommodation poijcicudopted by DOE were likely lmC<>n~tiWLional,

       298. The City asked the Court to let them try IQ mitigate the hann by providing a •·fresh
review" by a newly created "Citywide Panel". spcprhcadcd by Defendants' attorneys, particularly,

Mr. Eichenholtr..

       299,    The City promised that any employee whos1.; rcligiQ.1!5 beliefs quali fied under h1wful

standards would be reinstated with back pay,

       300.    The DOE agreed to this plan.

       30 I.   In Novem ber 2021. first a motion panel and then omerit~ panel of \hc Second Circuit

Coun of Appeals issued an order reguiring the City Lo give fresh consideration through a new

"Citywide Panel" and reinstate tb. 2 . ~l!.aJilicd with backpay.

       302. Though the Second Circuit's order did not apply to non-named plaintjffs in the Kane
lawsuit. the orders acknowJcdgcd that the Court's decision lo limit relief to named plaintiffs in the

preliminary injunction order was impnctcd by the fact thnt the City promised to make the Citywide

Panel review and reinstatement avni lable more broad ly on a voluntllQ' basis,

       303.    However. the Citywide Panel did ngl rev iew the vast majority of employees denied

under the Stricken Standards.

       304. According to later representations by Defendants counsel jn related Iitigntion. the
Q!y\yide Panel only reviewed about 500 of an cstimate_g 5.000 IQ 7,000 applicants denied rcligjo\tS

accommodation from the DOE Mandate.

       305.    According to QOF.. only 1;mployccs who had been able to submit an •mwal within
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24 hours of their initial denial were reviewed by the Q!)'wide Panel.

        306,    BuL those who wen: deprived of an appeal suffered from the discriminatory and

prctcxtual policies too and had no recourse even afler Defendants admitted thll) their orjg inal

policies were unconstitutional,
        30?.    Manv applicants. l iki:   Plaintiff. who did aooeal under the original Stricken
Stnndards. antb,vcftin..fm.med all.er the Kane decision that their applicutjons WQC\i under rQvicw by

the Citywide Panel. never even got a dccision before being terminated.

TIie Citvwlde Panel dl'llit1l,f were al.m pretext11al a11d s!,owed ongoi11g n11imu,~

        308.    The Citywide Panel rcviews did not comply w ith .!J1~ t@rn.tory standards and creutcd

further equal protection probli;1m,

        309.    T he reviews were not carried out in good faith,

        3 10.   Out of an estimated five hundred reviewed. only one opplicunl's denial was rovcrscd

by the Citywide Panel.
        J1L     This reversal Wl\$ ~Qn~ d k f L~d w as only grunted so Defendants could ar.&\!~

to the Court that the Cjtywid~ an~ s a valid remedial measure to the injtial acknow ledged

discrimination.

        312,    The Citywide Panel did not engage in cooperative djalogpe about possible

ll,e,g>mmJKfations.

        313,      Between February 2022 and A ugust 2022, the Citywide Pane) ~cnt out autogeneratcd

emails from an email addre~s called " nprcply@salcsforcc,com" which stated that the deninl was the

finql denial, and that employees had to get vaccinated w jthjn three dnys,

        3 14.   T he reasoning wns generic, typically stating in generic language that DOE hnd

demonstrated that i t would be an undue hargsJlip given the need for safo in-person leartlirJ&..an(j

sometimes tacking on a statement i ndic11ting that the applicant had failed to establish lhnt their
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religious beliefs nrc.cJ!!.9e yaccinntion.

        315.    Some employees never received a dccisjon at all.

        316.    Most employees were then terminated a few weeks or nfew months Inter.
        317     The Citywide Panel reviews were also infected by the sam1, animus th11I plagued the

initial denials of necommodation.

        lll\._rirst. the Citywjcle Panel imposed a di tTercnt undue hardship :;tJtndard on those gjvcn

fresh revjcw than had been im_posed on those nccoptQQ under the discriminatory ooljcy,

        319.    Specifically. the Citywide Panel applied acomplete blanket undue hardship bnn on

rtccommodation for all teachers and most administrators. even those with sincere reliejous beliefs,

t,:Jaiming that DO~ "had demonstrutcd" jt would be an undue har.9ship to accommodate anyone whv

worked in abuilding with children.

        320,     By contrnst. under the Stricken Standards. jf an employee's religion met the

discriminator:y delinition for determining they had a qualifying rcligjous belief. they had to be

nccommodated wjthout regard to undu~!IBrdship.

        321.     Under the discriminatory Stricken Standards policy. a1 least 163 employees were

therefore nccon1modatcd. some of them cla~sroom teachers,

        322.     The rest of the applicants were denied the same neeommodation. not because they

~~Q!nchow be barg_cr to accommoduto than the _163 who were grnntcd accomm2.clt11ion under

the discrjmlnator:y policy. but because DOC disfoyorcd their religions and part iculjlf religious

objections.

         323.    In sum. the Cjtywjdc Panel's more rjgorous blanket undue hardship bur for those

~ .ho_g_\mli fled undi,:r "lawful'' S1andards vcrsvs ! hose th.oL(}l!!li licq_ynder the openly discrin1 inat91y

standards, constj\utcd a fresh incident of discrimination (since it was not ,1pplied to those who were

imocnnissihly fovored under the old policy).
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        324.    Scconc!Jhc Citywide Panel's blonkctiindu<,_Jiardship dctenninuIJ.Q.ns violnteQ

statutory ractors.

        325.    In related litigation, the City offen.:d Mr, 8ichcnholtz. who created nnd was in charge

offi..Ypervising the Citywide Panel, to be deposed for the purr;,o~e pf uddressing the Citywide Puncl';;

policies.

        326.    Mr. t:ichcnho)b; WPS the ..architect" of lhe Citywide Pa11el and oversaw it nncl h11cl

veto power over dctcrrninations.

        327.    I le admitted in his sworn deposition that neither the City nor the DOE analyzed any

nrth~totutory foctors before d«mdng applicnnls.

        328.    I le further admitted !hut 111:ithcr \he City nor \he DOE ever 11s~csml 111,y objective

evidence to clclermjnc that cmploy.:cs could not safoty be uccommodated before issuing the undue

hardship denials.

        J29.    I le further admittc.d_iliat tqg_Citywide Panel dicl not know or assess wheth..PL !he

vnccinc could :,;tog_t@11smissio11 of diseu~c OT whc1her unvnccinn!cd cnm)oyccs WCrL!llQ.@

dangcmus lhan vaccinated ones,

        330.    Mr. Eichenhohz funher ndmjttcd under ncnaltv ofpcrjurv that DOE ncycr provided

in(onnatiruito the Citywide PuncJ "us to the number ofemptoyees ii could_;1ff2!1Uo..\!mplo} without

causing undue h11rdshln."

        331.    I le nlso swore lh!ll th~ "innbility to pay cmoloyccs" who were not nbk to WMk jn

P£!_-son ..hos not come up'' nor hat! DOE submitted any informatLon about inl:rc11scd cQ~I~ that could

~ t a n undue hardship if empl oyees were accommodated.

        332.    Mr. 1•.ichcnholtz said the Citywide Pnncl did not u~k.thc DOE to cxphtin wcJne.r.Jl1e

remote worksitcs it set up were nt capncil,y Cthcv were not}.

        333.    I-le also ~aid thot he wos 1101 aw.ire of nnv direct threat analysis concl11clcd for ony


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employee.

        334.      Mr. Eichenholtz could not recall nny panel member assessing whether Covid-19

vaccination could limit the spread of Covid-19.

        335.      lie finully conceded that the Panel hnd not imposed "no eyidcntiary requirement''

from any agency on the undue hardship issue. When pressed. Mr. Eichenholtz staled that he did not

1hink analysis of any statutory !'actors was necessary for !111 apoc!latc body like the Citywide Panel.

and h1.: had made sure there was no requirement that the DOE or an)' other agency "provide that

kind of data.''

        ~Bizarrely, Mr, Ei,cJ1WJholtz admjt1cd that neither he nor the panel ever relied on 1111X

evidence or datti to conclude thut unyaecinated employees mieht pose a substnnlial risk of

significant hann if allowed to work in person unvaccinated.

        337.      He confirmed that the Cjtywide Panel did not assess the duration of any risk or any

of the other statutory factors on direct threat either.

        338.      Frum this testimony alone, it is patently clear that the Citywide Panel, like the DOE

before it. foiled to meet its burden ofproofon undue hardship.

        339.      Outrageously. throughout the winter of 2021-2022, when lhe Citywide Panel was

making its undue h!lrdship decisions, the DOE was sending activefr infected and infeclio~

vaccinated teachers with Covid-19 back into the cla.~srooms.

        340,      Meanwhile. thousands of uninfected teachers with nntural immunity were kept on

lyayc without pay, and even 1crminnted on lhc unsupported claim that it would be an "undue

hardship" to allow them 10 be nround ~1c students unv;,ccjnatyd.

        341.      Third. the Citywid.~ Panel upplied the wrong legal :;;tan9ard to deti.rminc u1\due

hardship.

        342.      In his dcoosition and in many ~worn pleadings, Mr. Eichcnholtz repeatedly admitted
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under onth_th!lt thQ.C.it~· and DOE used the fillmc unln}YfµI "de min/mis'· standard for undue hard~h[p

rather th11n the significant or s\lhstantial stnndard required by the three controlling statutes even

though they had been repeatedly put on notice that the statutes required more,

        343.     Using the unlawful de miniml.1· stnnclard. the City and         DOfl made blanket
ilfilillm.Dtions that uny accom_!11odntion wnuld be ··more than 1UJ1i nimal bu~Qjustified dcnjal

of nil classroom teachers on that ~

        344.     Citywide Panel mcmb\;rs under Mr. F.ichcnholtz' direction routinely went C\-Cn

further and continued to recommend that even appljcunts whp already worked remotely should be

denied ba~ed on unsupported "undue hqrdshjp'' a);summiom,

        345.     Fourth. the Citywide Panel failed to engage in cooperative dioloGue with f:IJll'.

applicant about oossjblc accommodation:; and challenges thereto before denying their 11pplicatjons1

        346,    This leads to an inference that the undue hardship dctcnuinations were pretextual

nncl discrinl!natory. especially because some of th~e denied under these blankcl..\wl~..nJrcJIQ.Y

worked rcmotclv or in buildings without students.

        347,     Fifth. nothini in the Mnndme specified that DOh employees co1Jlci not be given

religious accommodation that would nllow them to work in person.

        MS.     On the contrnry. tlw Mandate specified thm n!lthjng in lt prevented rca.wnnble
lli.2!lJ.ll1QQlllion as required In law.

        3!9.    Pursuant to smtutc. employers must grant reli ajous occommodution \fill_ess they Cllll

show that there js u ~afcty cone~

        350.    Defendants' own decisions show tbat safety concerns were prctcxtunl,

        35 1.    For c:1;01J1nl,.._,~hortly after all unY,a~cinated cmpl~~cr~ excluded, thousands of

fully vuccinntcd DOE employees were infected with Covid- I 9.

        352.    In or around January 2022. before the Citywide Panel undue hardship denials wen;


                                                                                                    4a
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issued and before most unvaccinatcd employees were \\,:rminatcd, DOE adopted an open policy of

encouraging and cajoling activel y infected lcachcrs to come back IQ the classroom within Jiyc days

of onset of infection due to stani11g shortages.

          353.   [( was well-understood at 1he time that Covid-19 wa~ still transmissible five days

after onset i n most cases.

          354.   Bu]. while DOE allowed actively in fected teachers to teach children in person, thev

excluded Plainti ff and her religiously opposed colleagues. who were not infected pnd were w illing

f.O \CS! and take other precautions to protect themselves and the st udents.

          355.   Moreover, DOE did not enforce the Mandnt,; cguallY.,

          356.   For cxnmple, DOE allowed thousands of employees to remain on ly partinlly

vnccinatcd jn vjolation of the Mandate.

          357.   DOE did this even though the Mandate required that em ployees gel their second

gQSe within 45 dnvs and even though ii Wi1S well-understood that onedose provided no prott;ction

\'iRinst transmission or even pcr~Q!lal progression of disease.

          358.   Yt;l these teachers were allowed to keep teaching in person unvnccinnted in

violation of lhc M andate,

          359.   The City was nwure of this fact and di<l nothing 12 require compliance.

          360.   But the City nnd     DOE were totally in flexil;i_le when ii came to religious
accomrnodntion, refusing to even consider reasonable accommodation as required by the Mpndate

itsel C

          361.   Sixth. the Citywide Pnncl failed to assess individual ejrcumstanccs, clujn, ing jt

would be an undue hardship lo accommodate employe1;s cwn when those employees alrca~c.!

remote non-student faciog jobs.

          362.   Seventh, by thi.: time the Citywide Panel began issuing undue hMdship denials. the


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vast majority of' its vpccin11I~~ workforce hud gotten Covid-19.

       363.    When the undue hardship denials were issued. there wa~ no good faith ba~is to a~scrt

rhat unvaccinated employees posed a direct threat due lo their religious pmcticcs,

       364,    The objective sci(;n\ific consensus overwhelmingly showed that vaccinatjon could

not stop transmission ofCovid- 19,

TIie City continued to discriminate

       365.    The Citywide Panel also continued 10 aop!y discriminatory criteria to determine

whether an applicant had. so called. qualifying religious beliefs.

       366.    First, the Citywide Panel continued to apply a blanket ban on anyone whose religious

belief included objection !Q. the connection between !he vaccines and abortion,

       367.    A ll three of the available Covid- 19 vaccines at the time used abo1ied fetal cell lines

in production or development of the product.

       368.    Emails exch11nged between a Panelist and Mr. Eichcnhollz provide evidence that Mr.

Ejchenholtz instructed the panel that such beliefs do not merit religiou~ protection and should be

~ected as inval id.

        369.   Mr. F.ichcnholtz's own sworn testimony and statements show that he and the

Ci!)'wlde r,incl improperly denied accommodation to applicants with religious objections to the use

ofnborled fet~I cell lines. on the urrogant assumption that they!!!£ "wrong,"

        370,   When deposed. Mr. Eichcnholtz adm ittcd that he did not know whether nbortcd fetal

cell lines were used in the development and production of the Covid- 19 vaccines and had not
researched this issue.

        nJ .    Rut ~h011ly before this t~ timony. he wrote to various applicnnJ~ t.QJh.c Ci tywide

Panel who had this concern and told them. fln! Q.\!h.lhaL thev were wrong. an_d there was no

connection.
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        J72     Mr, Eic;henhohz ha." also filed n11merous sworn plea{lings in related casi,;s which
admit that lhc Citywide Panel substitutes judgment abQ\1( whether abortion related concerns !Ire

"religious in natun.:·· and deny sjncerc applicants who assen this religious concern.

        373.    Multiple employees with this r!(liiiious objection n;ccivcd a notation in the

sgrcndsheet kepi by 1hc Citywide Panel indic11tjng that their beliefs do nouc.tual~cll!Q~

vaccination.

        374.   The City has later explained that n;gardless of what the applicant sincerch believes.

the City routinely substituted judgment 10 decide whether the appljcnnt        was wrong about their
bdicf.~ and whether the 11PQ!lcflll!Lmligious beliefs truly prohibit vpccfuati9._ru:.Y!!n.ifJh~nJ

believes that they do,

        375,   The Citywide      Panel qjso continued to deny beliefs grounded in prnycr or
consultation with the moral conscience. on the mistaken theory thut such beliefs arc somehow

P.ersom1I and nQl_'~1~

        376,   Beliefs derived Crom prayer nnd conscience arc religious io nnturc and arc proh:cted

as such.

       377.    A~ gnc of mnny examples. jt is n foundational catechism of,Catholici~m that the

Holy Spirj1. nnd ultimuJcly God. speaks to uB!!ld reveals truth thmugh the conscience.

       ~78.    Many Catholics believe they arc required Jo C(lnsult their conscience and follow the

guidance of the 1loly Spirit when it is prpvidcd. regurdlcss ofwhnt any other p!(rson rnay believe.

       379.    Many oJher religjoys people have similar belicfa.
       380.    But the Citywide Panel routi(1_cly decided that such~rc not religious because

the, allegedly nllow o_ncrson to pick and choose what they believe they should do.

       3.!!.l.,__This is ignorant as many rcligiQJ!S [1Coplc \\OUjd say that instructions from God or

thc I lolv Spirit do 110{ allow n person lo pick nnd chopsc what lhcv want to do. since religious people

                                                                                                     4e
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.12£.!.icvc they ore rccu1ircd to follo1\ such guidcmcc 1,,\·cn over b l ~ r l11w .tmndcd down b) mnn.

        382.     Dut ii} any event, the reicetion of these belief's Is 11lsQ...9.iBcrim im1loD',

        383.     lo u nutshell, the Citywide Panel cMtinued the same .Qiscriminntion ngginst
~111orthQU():-i faiths thnt hnd been cc11.lificd in lh!( Stricl-.cn Stnndptds. that is, l'CQlliring that (I person's

wiJwus objt."cliQn conte from _c!ogma or jnstniction from church lc:iders, rather thnn from g\ljdnn~

from God orQ.the.r.ncrsonally h_!:_kl sourc.:s of rel igiru1s bcl ief.

        31!4.    The Cit\Widc Panel 11lso entangled itself to an unconstitutional degree wj(h religious

questions. d,;nyjng applicants because their beliefs were allegedly not logicnl or 11rtlculntcd in n

sufficicnt!).s.ilh!m;.n! mnnru;L

        385.     The CiJywidc Panel al so denied employees if they'd taken other v11ccln~. even if

the employee cxplmnetl that they took the previous Y(ICcjne before lhcy converted to their current
beliefs system. or thnt their rel igious objection did not apply to that vaccine (for cxumpk, if the

Q1hcr v11ccine did not use abortccl.IcJnli!;IIlines in.p1.c~ or d~velopmcnt).

        3K6,     rhe Citvwidc Pone! also rcfoscd IQ credit 11ppljcan1;;· O\\TI intCTD[CIUlion of 1hi:ir

faiths, instcnd ndopting o policy thnt the City was tasl-.cd with the job or determining wbnt their t'ilith

required ufthcm.

        387,     These mi; just some of lhc discrimi11!ilim'..,pQ,Jicics unplied by the C11y lo uphold nil

hu1 one of the origjnn!.J!cnillls.

        ,l88.    U ltimately, the f a ~ c Citvwidc Pnnel _arrived at neiirly the same result ns_.1.1!\;

~ I uJmjHs,dly di,;criminntoo process leads 11,l an jnfcrencc !hut the City's rcnson~ ~IQ£

~\l!l.!,.


        389.     'l n£.!l9al ofthe Citywi!1£ P!!m;;I wns tolrY,to get out ofli11hili1y tqrthc nckn2,wlcd~

originnl discrimination by upholding nearly al! the originnl diserimjnatory denials, rather thl\l)

review them in good fq_ilh to rcmydjatc the discrimjnatjon, ns nrom~ed.
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        390.    The history of Defendants' religious necommodntion policies also suppons the

inference that the Citywide Panel's denials were prctcxtual.

        39 1.   Before the Mandate was implemented, Defendants' religious accommodation policy

was to assume that an applicant had sincerely held religious beliefs and focus on whether nrequest

would present nn undue hardshi p.

        392,    Denials based on sincerity 01· adequacy or religious belief~ were rure before the

Mandate, both at DOE and at other City agencies.

        393.    In a!l other conIexts. the DOE did not require extensive recitution of u person's

wiBJ~5'sis for a religjous acc.21lJ.!l1ation            rcq~l- and routinely granted religious
accommodation requests where a person did not specify the specific religious tenants that guided

their need for accommodation,

        394.    Aficr the Mandme wns implemented. Defend11n1s changed the policy and attempted
t2Sin:1!rucnLt1,~modati_o_1ucJ1uir:<;<1J1ents by issuing blankcLJ!ndw hardsbiruJcnials...JYithout

individuali1cd anulysis. coitcgorically excluding whole categories of religious belief as invalid. and

aggressively denying beliefs as somehow "not religious in nature" or not valid or sincere without

any good-faith basis to do so,

        395.    Even if there had been a legitimate interest in limiting the number of exemptions

given, the government cannot l awfully winnow the number down by discriminating against certain

faiths or beliefs jt djsfayors.

        396,    But this is precisel y what the City and DOE did. both in the original denials and in

thti".Jtxwide Panel a p ~

Defe11dant.~ extemletl the Mam/ates - am/ the 1111/awful Stricken Stamlartls

        397.    Continued pnimus can also be evidenced through the City"s failure to n,;scind or

repudiate the original Stricken Standards.
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        ,}98.   After jmposing the DOE Mu11d~... the_ City issued               hundreds of additiom1I
"emergency" executive order~. c::;tcpding the vaccine mandates IQ nearly every employee i111:!m

York City.

        399.    Tellingly. even nOcr;hc City's own attorneys adrnjltcd in the KonP cnsc thnt the

SJrick~ll.Standards polic) was Jikel) unconstitutiomil (and thQ...Sccond Cirq1it cqp11rmcd they were

definitely unconstitutiom11}. 1hc City faih;d lo repudiate them .

        400.    ln.~lc11d, the City exlcndC'd the 11.\'(t of the Stricken Stam/prd.t IQ more agencies -

striking deals and encouraging nearly every City agency lo offer the Stricken Standards as one qf

lli:Q..options _for employees IQJlpply for accommodntion.

        40 I.   The City's failure to repudiate the Stricken Standards is yet more eyidonci; of

;injmus. whi ch intecl~ hoth the mandates and the rcligious acco111111odt1tion determinations

thereunder.

        402.    Thili._u;suc was not bQfo.(£..lhc Second Circuit in NovcmJlqr 202 1. when the Yll!l:l..fil.'

Appeals first considered whether the Mundatc was itsel f neutral nnd genemllv npplicahlc on

intcdocutpry fi)ll)CRI.

        403.    Nonc_th.9lt-ss_.Jl)e Second Cfrcuit still ruled that !he religj011s nccon11nodotion policies

wer..: not ncuIraI or genernUv uppljcablc.

        404.    Perhaps the most telling sign of contim~d animus occurr..:d in the context of

unemployment insurance proce.,;djngs,.

        405.    Monlhs aQcr the Second Circuit chastised Defendants (or dcnving npplicnnt~
becm1:;e Jhc Pon<! was vnccina)cd pnd made it very clenr that ~uch criterjn w,;re blatantly

ypc:<>n~titulional, the DOE cQ.lllim1ed to argue in \ippi:al 11flcr ap$_al. that fonm1p_lm:g_cs denied

religious accommodation must be denied benel1ts tog. because 1he Pope wus viwcjnatcd ancj

lhcrcforn their religio4s heJil;frujid not merit prQtcctjqn.


                                                                                                         49
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Tlte ManrfnteJ were ,wt genera/111 1,ppl/c{lb/t

        1.QQ.   As more executive orders were issm;d. it also became apm1rcnt that 1he M;iyor
exercised unfettered discretion to make enrye-outs. exceptions. W new rnq,uirements for sr.:wlar

reasons. p,· for any reason fll nll.

        407.     l~or cxamnl!:. Mayor /\dnm~ im1cd Fc1ncrgcncy l~xecu!iyc; Qrncr 62 ("EEO 62'') on

Murch 24. 2022. llli!king O carve-oul for athletes. cntcrtnjne.££,__,'lnd their makc-un !JrtiStS and

entourages.

        408.     On its lace, EEO 62 ~tgtcs tlu!.l the ex,;cption WIIS made due to economic J£l)SOTIS.
fill.cl oJb\;IJeasons not rclat,,;d Jo s1oppin~ the sprca_{l..9fCovid-19.

        409.     Son1e of Mayor Adal))s' top donors hod lobbied for this cru:yc-0111.

        410.     l'vhnnr Adams announg:d llw controversial corvcuut al Cjtj field, the horne or the

New York Met~.

        411.     New York Mets owner Steve Cohen had donated 111 lcf1st 1.5 million dollars to a

politicnl 11ction r.:01nmittcc s1_1pporting Mayor Adams just mon1hs he.fur~

        412.     Other top donors to the Mayor in the cntcrlajnment industry ulso benefited from the

S,J_l~~

        4] 3,    Due to the cnrvc outs. stars like Kyrie Irving and various entcrtainccs..filld their mnke•

l!ll!!Dlllt~ and cnlourogcs col[!.d.J.\!J!Jrn to work unvacsiJJntcd. working jn person in enclosed spuco:;

in close proximit, to fans und colleagues, but the junito~ and minimum wag~· workers at the fields

Qr theaters. nlong, with most other hard-working people in New York City, were being denied

religiou:, accommodation and losing their jobs ir1hcy could not tpke Jhc vaccine,

         414.    Significpnt @tcry nccompgnicd the; carve outs.

         415.    HmTVNespoli. chair ofthi,; Municipal Labor Committee {"Ml,C") snid "There can't

be u11c system for the elite and another for the clilc and unother for the essential workers of oyr
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        416.     Not surprisingly.       this favoritism al so worried Jay Varma, n physician.

epidem iologist, and senior advisor to Mayor Bill de B lasjo for nubljc health uod   covm-12. who
publicly ex pressed the concern lhnt the new carve-outs would open the City to " legal action" on the

basis that filJCrnn!.!llJli. rn anJ!iltc~ --ru:bitrruy and C!JQrieiollli.'..:.
        417.     T he City was well-aware by March 2022 that there WllS no public health necessity

for !he Mandates.

        418.     The majority of its fully vaccinated Starr had by that lime caught Cov id- 19 despite

the Mnndme.

        4 19.    During the 2021-2022 school year, approximately sixty t housand folly vaccinated

DOE cmp)oyccs caught Covid- 19 al/er the mandq{e wqs imposed to exclude unvaccinatcd Sl!lff.

        420.     Many more had already had Covid-19 before the mandate was imposed.

        42 1.    B ut the City refused to drop the rest of the mandates or accommodate employees

who cou ld not b~c.lrfil~duc to their r~i_gjm.1~l~J~ in...&.9Q_d faith,

        422.     On A ugust I 1, 2022, after over a year of verbal acknowledgments that the vaccine

could not :,top tmosmission. the CDC officially revised its cuidancc to strnss that it wns not
£1ppropriate to di fferentiated between vaccinated and unvacci nuted due to the overwhelming

scientific consensus that Covid- 19 vaccines cannot slop infection and transmission.

        423.     Instead of accommodating or reinstating emplovees who'd been denied rel igious

accommodation, DOE sent out a letter Inter that August 2022. making a fresh olTcr to DOE

employees who'd been term inated or were on leave due to their vaccine status that they could come

back nnd be reinstated to their old positions - hut only i f they got vaccinated by September 2022,

        424.     Many employees, includjng Pl aintiff, asked for religious accommodation again, but

thyy were all denied.
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       425.     Some were able to submit applications through S.QLAS. but they n;ccived the same

vague ''\mdue hardship" denial they'd received before or no response al all.

       426.     Others sent in email requests, o,· mailings nsking that they be able IQ ~ -~einstntcd 11s

offered but accommodr1tcd so that thev did not have to violate their religious beliefs.

       427.     They were ignored and dcni!,9 reinstatement.

       428.     Defendants also knew. when it sentthc le1ter to each of those employees who' d been

previouslv denied religious accommodntion. thnt the applicants required religious 11ecommodation.

       429,     They were obligated therefore. to ofTcr them an accommodution unless they could

prove undue hardship.

        430.    There was absolutely no good faith basis to even argue undue hardship at that poi111,

leave aside orove it.

        43 1.   In September 2022. religious employees denied !_ICCOmmodatjon who were still on

leave were all terminated for failing to violate their faith and get vaccinated.

        432.    On September 20. 2022, Mayor Adams annwnced in a pres:; conlbrence that he
wou ld rcpcill l!!!LP.rivate sector vaccine mandntes. and the mandate for students and narents

[!Nlicipating in afiel'-school activit jcs but would keep in place the public sector mandates and the

DOE mandate for employees,

        433.    When asked how he could justify keeping the public sector mandates. the Mm'.2r
admitted that there was no reason, stating: " I don't think anything deuling with COVIP is !sic]

makes sense and there's no logical pathway of one can do (sic).''

        434.    Without any logical explanation why, the City kept the DOE Mandate jn p1acc until

February 2023. when Jhc Kane plaintiffs were scheduled to argue their appeals over lh~....UDlawful

DOE policies before the Second Circuit.

        435.    On the eve of those llf£llll1Cnts. the City announced it would finally repeal the rest
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of the mandates. and f!r&.U~c!_ to the Court lhnt this ib<ll!k!...moot the lawsuit~.

        436.    But despite the ropcpl. DOE rcru~es to hire back most of the fired unvnccjnated

workc~ to this day.

Retalia.lio.u-:-1-l&P-~JJ!lll~i)>i~! ~<;:use# A82294 iA SO~,_P.,S_.o,~El ttle-                             [ Formatted: Font Bol~ tallc

        437.    Not only did Dcfend1mts foil to accommodate cmi;>loyecs' sincerely held religlous

bcljcf;;. the, 1111,0 homssed und rctuljatcd agajnst empl9vccs with religious objections to the vaccinod

        438.    As 11 Ihrc~hold matter, there wa.~ no hasis to impose some of the Jrpconian

reg11iremcnt~ that DOE imposed on employee~ denied religious accomrnodntion due to alleaed

"undue hprdship.''

        439.     For example. employees were coerced 10 sign a waiycr oftheir right to challenge the
determination or face tcnni@tion "'for cause·· and lose their good st.anding. paid time off crudits

(which belonged to them by low and contr11cO and health insurnncc while thcv wuited on leave

without pay.

        4io.._:[bcs~nefits belonged to the Plain1iffAnd her colleague;; pursuant to the relevnnt

comrac~
        44 I,    Moreover. llnding cmploycc,; guilty of misco11d\lcl lor foiling to violntc thch'

religious beliefs was rctatimory,

        442.    Nothing in the ContJ!19.Lr.equircs vuccim1tion as acondition or employment.

        443.     Vaccinotion wa~ not a condition of cmploymcm when PlaintilT or other tenured

teachers entered into their contrncts with thi,: POE.

        444.     Pur.;mmt lo the conlracL tenured lcachcrs cannot foci,: any of these conticttrn

including loss of~uhuv. without a3020a hcuring. which wgs not provided.

        1:U..   ~ _prcover. the Educmion Law pr9!ill2its imposition of a wojycr .fu.uin.Y._.QQE

cmplovee under ~uch condilions.
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        446.     Defendants also could easily have at least _allowed employees with sincere religious

beliefs to work elsewhere while they were kept on leave without pay, or to return 10 their former

12Qfiltions once the mandate was lifted.

        447.     ln~tcai,l, they imposed Ii co11ditio11 that they could not work anywhere while

;;it'[lc.r.tc1£Q.Jrom_DOE.

        448.     Then, DOE attached problem codes to the emp loyee liles of those who were

scpiJrntcd for railing to get vaccinated.
        449.     T he problem codes were associated with employee's finger-print records. wh ich me

shared with the F ~ l!Y~a11 _Qfmy_c.rugruion.

        450.     These problem codes were also visible to vendors and potential employ<--rs outside

of the DOE system,

        451.     The problem codes continue to this day to pl'evcnt maiw employees fired for failing

to violate their religious beliefs from gcuing a job at DOE or elsewhere.
        452.     Even after the DOE repealed the vaccine mandate for DOE employees. DOE

contin ues to µ~c lhQSC problem codes and other methods to block those who were terminated for

failing to get vaccinated in violation of thei r religious belief.~ from coming back.

        453.     For those tbot arc otTcrcd employment. DOE continues to impose an arbitracy wajvcr
r~\,li rcmcnt on some.._bfil nQ.l all cmplovces a~ a !=.Qndiilim of retufl},

        454.     DOE told VFT that all employees would need to sign u waiver of Ibcir right to sue

to come back. deterring many from trying.

        455.     In prncticc DOE imposes this wai ver reguin.:rnent selcctivs:ly. forcing some to sign

ilS a conditiop of return but neglecting to even mention it for oth1,;rs.

        456.     Second, DOE refuses to reinstate Plaintiff or her sim ilarly ~i\uatcd peer$, in~\cad

requiring that 1hcsc mostly tenured teachers and educators apply as new hires.
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        ~~7.     Third. DOE continues 10 use the ru_obJcn1 code 10 lhwarl efforts for those denied

religious nccommodntit>n lo return even as a new hire.

        458.     For ex11mplc. there i~ jl ;;taffing crisis al DOE.

        459. In related litigation. employees with wotloss 1,;rnploymcnl records have submjtlcd
sworn stat¢mcnts that they had interviews nnd were offered a job. but then their job off~as

rcsci!)dcd al)er problems witl1Jhill..'.:,~giri1y clearance" wen; rcf2Q.11.Ci

        460.     Some ~mployccs were told point blank that the security clearance is~ue js thet th<..Y,

have a nroblem code attnchcd t<l their file.

        121.,_   Sorn«.J1aye seen the problem cpdc.

        462.     These problem codcs !\J'e typically i111poscd on employees who pre not himble clue

to heinous ofTcmcs. like child ab11sc.
        463.     DOE lms long been aware oflhis issue. as it hns been repeatedly brought up in EEOC

comploints llnd related litigation hut rcfoses to address it,

        464.     There is currently a CoogrcssipnaLJnvcstigntion into thtJ problem code issue, and

n1c,nhers of the United St9tcs C'OQS,l'~B. have_g~mandcd nnswors from the Cm:.J!Pd DOE.

        465.     Neither Defend11111 hrn> hothcrc\l to answc_r Ihcsc inquiries even though they arc

rc9.uin:d to do so.

        466.     Th<.TI: IJllve also been benrjngs by the City CQ.Uncjl.J!!Jd mnny employees from D.QE

9nd Lhe City have 1es1iQcd about the ongojng retaliation uncl di~criminaIio11 they face.

        467.     Fourth. DOF has attemplyd to hlocull efforts 01 receiving unemployment

compcnsntion.

        468,     For example. when employees would anply. DOE would routinely obicct and st~

1lml.tlicy were fired for misconduct or were i11eU&lbl.~Jlli_JJ ..good cause" dctepninatiofl~ouse the

Pope or others did not agree with lhe employee's religious choice.
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        469,   DOE routinely nrnqc.Jlwsc c!il'~rimi_1~1_1)9.Q'.._a.rgmn.~1J1LCVCn__!_l.f\c_uhc....S.Q@T)d Ci_rcitiJ

chpstisccl them for conditioning ncce/;s to accornmoclation on the belief.~ of a rcli1;:ious leader like

the Pope.

                                PI.AINTlff'S INOIVIDllAL J!ACTS

        47Q.   J.n. Scgcembcr. 2021. Plai111i1T wfil....!Llcnurncl M11s1cr 'Jcacher for Snccii'II Educm ion,

Citywide Scho(II Adminjs!rator and Transj(ion Cnrccr and Technical Educutjon ("CTE") lender with

over twel ve years ohervicc at the DOE.

        471.   PIRjntiffi~ a devout Chri~tinn. from n devoutly religious family.

        472.   They are long•tiJllC members g(the historic Greater Allen A,M.F.. Cathedral ofNcw

York. and Plainfitll; daughter has 111lended on lv religious schools since preschool.

        473.   One gf Plaintitl's core religious he liefs b that pnrticjpqtiun in 51hortion is a sin,

        474.    When ~he and others in the congregation lci1rned that aborted lbtal cell lines were

used in the owduction and dcvc]omncn1 of all three Coyid- 19 vnccjpes. Plaintiff upproached her
p,istor nl the church to discuss her religious concerns.

       475.    I le told her to pray Qll il. 11.~hing her I\) use her strength in the j ,Cl!'d.

       476.    Plnintitr am! her film ii) proyed rep,mtedly. 11nd based on these prnyera, dccidc_g

to&cthcr fhat lhey ixrnld not pnrticipntc in vnccinution without violqting their religious beliefs.

       477.    Plaintiff routinely prnys, not jusl QVC[ medical dccjsions. but about all aspects of'h~

life, and she was very cleur that taking these products wns not in alignment with God ' s will ns she

understands it through prnycr nnd rencction.

       478.    Plaintifftimch suhmlllcd n rµgpcst for religious ;1cc9111111odntion from the C{)Vid-19

vaccine through the SOLM~JlOJ1RJ.

       479.    In her application. Plaintiff cxpl(!incd she has a sincercl):'._hcld religious objection to

the COVID-19 vaccine and necd<&1_1cc2m111odntion.
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        480.     On or about S,g)_M:mbcr 22. 2024. Plaintiff rs;c1,:iyc.fL!hU11mc nutogcneratcd email
                                                                                                                                   Formatted: Body Text Justified. Indent: Left: 0.06",
sent to all other applicants, denying, hi::r request based on alleged "undue hurdship" based on the de                             First line: 0.44", Right: 0.08", Space Before: 0.05 pt
                                                                                                                                   Numbered • Level: 1 + Numbering Style: 1, 2. 3, ... •
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       481.      No one from the City or the DOE individually revicw..:d hcr npp!jcation before                                    Formatt~: Not Expanded by/ Condensed by
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        482.     Defonclants never gue~1joncd Plaimi(Cs sinceri\)11 or requested funlwr infQnnation                      1 /,t/ Formatted: Not Expanded by / Condensed by
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 about her religious llclicfa before denying her.

        483.     Plaintiff appealed and received confirmation ~ 1 h . i t her l!PtwAl                            i' '-,,/1                      --
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        490.      Plaintiff could have been accommodated in person or remotely without posing a                                1 - -        -                  ----
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 di1:9ct 1hre11t or causing undue hardship,                                                                                    ,:-     -
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        491.     As a threshold matter, Plaintiff did not need to enter 11ny classrooms to do her job.                         1_ Formatted: Not Expanded by/ Condensed by

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                 Her job wa? priJnacily administrative and CQuld hayc easily been accommodated as
        492.

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        493,     Plaintiff began her curccr as a Special Educnlinn teacher, but l:!y 2021. vc;zy little of

 her job inyolved tca£bjng students.
        494.      Many years before. she hnd been promoted to the --Mnstcr Tcochcr'" designation.
which was a citywide aopointment st:rying the entire distric.1,

        495.     As A Master Tci1chcr. her prirpgry lob was tn as~css data for schools that were
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filf.!!Wl}g__Qf s l a t ~ ~ t q9.wn bv the ~•ate. make rc1,-ol)'lmcndntions on needed profession11I

development and teacher development. ond coordinate wi1h building ndministl;ator:, on 8 vlan LO

support the tcochers in this development.

        496.      She did not need to enter an, schopl buildings to do this work.

        497.      This work typic111!y took uwo11185% of her tjmi..,

       ~ I n the fujl..QLW.l. Plaintiff was oskcd IQ take on new_ndrninifilntlive work. this time

serving as aTronsitjon Coordlnntor,

        499.      l\s a Trnnsjtjon Coordinntor. Plaintirrs job was to coordjnate wjth the OJlministrntjon
to ensure that the schools were in compliance with I.EP plans. und to link stu~ents with djsabiljties

who were rcncly to exit wjth ggencies thnt could help thcJll with indcpcndenl living placem.l<.!lli.

husincss opportunities and other services.

        500.      None of this work involved jn person classroom timt; with students.

        SO I.     All of jt could have been handled n;motely. 11nd none _o f it needed to take place in.J!

DOE classroom building with students.
        502.      In addition to her administrntivy work. Plaintiff trnjcally co-taught one or two

Chl.~ses.

        S03.      Defendants could have easily accommodated Plaintiff by simply having her do her

ndmi1Jimat_LV_£_WOTK 100% ofJJw time untjl the tcmwrary Mungnte_wns resciiwcd.

       -5.!li._   Plaintiff a!so could have also easily kcQl co-tcnching the few cla,scs she hod hc£Q

tcnchjng, in or QUI o(thc building

       ~ A s a Mu~tc1 Teacher, Plninti!Twas jnvolvcdin.J;Q-t9_pching programs 1111d wns not

lli£..J:>r.imNY classroom teacher. Even before the Mandate was imposed. PlaintifT routinely joined

thi: clnss remotely \\hile her C0_·1!!8g1Cr or nn nid was physically pn;scnt in the building with the,

studcnb.
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       506.    She could easily have continued In <-v-t,;;1~h this way.

       507.     PlaintifTcould have also safely taught in person.

       SOR.    She w~s not a danger to anyone bn~ed o n her religious practices.

       509.     P!ajl)II [had already had Coy id-) 9 and had nntural immunity.

       510.     For the previous year and a half, she had been teaching, including so1ncJimcs in

person, and had not exposed anyone lo Covid-19.

       lli,_Prior to being placed on forced disciplinary leave without pay, Plaintiff participated

in regular COVID testing at her own expense.                                                                                   { Formatted: Not Expanded by / Condensed by


       U:512,           Plaintiff also submitted to daily health checks, compl.eted, medi<:~l surveys..., •-~                       Formatted: Not hpanded by/ Condensed by
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         Ill.    PluintiffJtlso presented R negative COVID-I9 test each tluY. hcforc rcnorting,,JQ

work.

         514.    She wns ready, willing and able lo cQ.ntinm: testing and symptoms clJ.cck as shc~.hfill
been doing. und fJS e, cl)' o1hcr school di~trict in the st51Jc allowed 1cachcrs_to do.

         515.    On or 11t,Qu1 October IS. 2021. PluinJiff submittt.:d an EEOC complaint, asserting

tlmUhJLi.Jty Md--1hY Q.QE hnd violat£fl Title Vll_thrQ!lih_ their discriminatol'\I reli~iou,;

11ccommodution polic, nnd u11h1wful dcnigl or religious accommodation,

         516.    This nolic.: complil.'d \\ iJh the notice or claim requirement governjng stp1C law

claims.

         ill,_ f'hc Defendants fajlcd to :idjus\ her clnims within Jhc Sllllulo~riod.

         sI8. Afier ti motion~ and th1;Q a merits panel of lh\l Second Cio;pil held thqt lhc
Ocfondants· religious occommo(lation policies thnl PlaintilTwas denied unr,!l,!r wt:n: not neutrfll.ru

JWlCl'OIIY apolicablc, ond likely vjolutc the Flllit Amendment, Plninillf 0!!£.D1p1cd t~1 Jjlc .!lD.JIJ2l1£ll.!

~ the Citvwjdc Panel lhrough SOLAS.

         519.    She received an error me. sage, telling her that she wns not in comuliP!JCt> with thi;

M11ndotc, 1md could not submit her request.

         520.    She followed up by ~ending II letter 10 the DOE on or about November 29, 202 !,

oskin&..!hll!.hi;!:....!IDitligition be rcvjcwcd_ bY the Ci1ywide Panel t1s the City wn~pll'lmising ~Q..ulg

occur.

         ,21 .   The letter nlso notjlicd the DOE that Plainti[wru; bcjng discrjmjn;ncd against h11$ed
Q.n her religiou~ beliefs ll!ld pointed ou\ thgt the Second {J.r£ui1 IJJUi.!ru,ntl Dcfendan\LJ_el~

uq;ornmodation policies unconstitutional,

         522. Shonh u0cr. l'laintilfre~·civcd mi cnmjl rnnQnning thnt the Citywide pqncl would
review her nnplicntjon und rcinst11tc her with hui;k na> if she wa~ dcemed_g~ialilicd under lqwfi.tl
 Case 1:23-cv-09248-RER-PK                            Document 29-2 Filed 09/20/24                                      Page 65 of 107 PageID
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 stan~lnrih,

         523,    The Citywjde Pgncl ncy... r engaged in uny eQQ_oerntive digloguc or took any further

 11ction on Plaintiff~ appeal.

         ~nstcad. the Citywide Pand failed to issucumy ck:cisjon at nil. li:iivjng Plaintiff~

 appliculion to pend for mon1hs. while, PluintifT bcgimc increMingly more hun"ry and clespcra!£

 wjthou1 an) su!nry or means to SUru:!Q.rl herself.

         525.    Without ever receiving nn answer from the Cilywjdc Panel, Plt1intiffwas tenn jna1ed

 on or about Febn1ary 11, 2022. with no due proecs;;. and no 3Qlil heorin~. due to "noncompliance

 with the New York Cjty I lcallh Commissioner's Order reC)uiring vaccination" ofqll DOE st11[

         ~S26.          To._4ate,.Plaintif(ruJlhas.not received any-eeoilii~n i'\ dctem1inatjo0J ro1n.the._ \           { Formatted; Not Expanded by / Condens~
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 Citywide_ Panel .. .      •               r Awiew.                                                             , \:,
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         528.    She was simply dj~misscd. pftcr over n dc:cpdc ofcxempla1y service.                                      First llne: 0.44", Right: 0.08", Space Before: o,os pt,
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         529.    Though Plaintj[lmd tenure. and New York State law requires thm tenured teachc~                         1
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be provided with a 3020 hearing before they arc terminatcdJ Plaintin was n\;ver given a hearing                         • Formatted: Not EJCpa~      d by/ Condensed by          7
bc_forc she was tcrmin01cd.

         S30,    Vaccim1tion was not acondition of employment.

         531.    At least 163 unvaccinntcd teachers were allow1<d to continue to teach ut the OOE

and receive thi;ir salaries.

         532,    Mor.,:ovcr, neilhcr the Citl nor _the OOE nor the arbitmtor had the lcgnl righl to \<!t

rnc~condition of employment for tc.nurcd teachers outside of the con1ract or the lcgislatur.t:.i_

cnum..:rntcd conditions,


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       533.    In August 2022, the DOF. sent n letter to PlaintiQ: olTering to rcins_y11e lwr d.§llil.d.if

she were to show proo(ofyaccinntion by September 6. 2022.

       534.    Though the DOE knew Plaintiff rugujred religious accommod<ition. tncy did not

offer Plaintiff any accommodation.

 ~   Plaintiff became aware,._of aq ~~~i seRl ~mer L)OOllt felm1er:, 1 9, 2922, from Eric Amato 91 - . . - , -
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                                                                                                               ,

 the DOE (Human Resources➔ c;lcpartmcnt had sent an email to Beth Norton and Michael Sill of

 the UnileEi f e E l 1 t r ~ ~UFn.. stating. tha any, member. who. requesteg. an exemetion.

 from the ~nette1Hffl!OOateMnndatc would-immedtattt~y have their +mgef)}Antsfile 11n_d_

 fingcrorings flngi;cd with a "problem code" placed imein the "11Feelom



                   )roblcm..,_Co~deJ..!i.used when an employee has committed what the DOEEonsiders.. ,...,
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                                                                                                                                                                             dD
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misconduct.                                                                                                           • Formatted: List Paragraph, Justified, Indent: Left: O"j
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        537.    Problem Codes arc typically ph1ccd 011 tiles for tenchers who have sexuully molested                    Level: 1 + Numbering Style: 1, 2, 3, ... + Start at: 1 +
                                                                                                                        Alignment: Left + Aligned at: 0.5" + lnde~          O.~..
a student or are otherwise unhircablc,

                        Oq.o~about) anu_l!!'. 15 2023 Plainti learned tha herjmge rints ha bee~ _.
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                                                                                                                        Formatted: Justified, Indent: Left O", First line: 0.5',
flaggeclJ,y,ffi&-DOE with a "Problem Code" at its ~fJJSil of Personnel lnvesti ations. _ _ /                            Right: o·•, Line spacing: Double, Numbered + Level: 1
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       ~539.            ~.. tem1inati011 ill l~Hllll)' 2922, Plaintif(w1;1s.._an cxemplary employee                     Left + Aligned at: 0.5" + Indent at: 0.75", Tab stops:
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~11.d wns if\__SOO standing.                                                                                                                                                 CJw


        540.    The only disciplimuy ch1u·ge she had ngainst her was fuiling to yiolalt: her religious

gfa by taking n Covid-19 vaccine.

        ~541.                                                                                                           Formatted                                             c@
                                                                                                                        Formatted: Indent Left: O", First line: 0.5', Right: O",J
impacte PlaintitrsPlnintifl'Labili       to obtain future emp!Qyment ime-at the DOE - or even /                         Numbered + Level: 1 + Numbering Style: 1, 2, 3. ... +
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elsewhere or to secure small business funding.                                                                          Indent at: 0.75", Tab st ops: Not at 0.4"
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         ill...,_Plai1itif( e A&Rp~fkr the Mandate was lifted in fehruaOL)023. DOE refused to

rcinsta1e Pluintil); despite the foci that lhe position remained open.

         543.       DOE aiso refused to hjrc Plaintiff [or anv other position, even though, there js n
MPOlng crisi~ in Plainti0's Oeld nnd Plnintjff i~ wcll-qunlificd to till the pQsition.

         ~      - ln_addit ion_Lo....rQSJ!£lilin~ rcin~tat911Jcn1._PlainJ_jlT,JltlemJ1!cd_to anrly for muQY.,iQh,o;_that

she wa~ well•qunlilied for.

         54~,      She is n highly commended tcm1r1.:d educator with mulliok srnduaJe degrees and a
r££Q.rd of success m DOE.

         546. Ycl. Defendants refuse to hjrc her. despite her excellent record of service. This i~
because of the Problem Code.

         81.......Ylfilntiff is 1101 the 0111v one thatJ.s.jaeing ll1is Issue. Hunc!rg.fls of other former DOI-.

!mlP.loyces have seen ev idence of the Problem Code and continue to be shut out of employment

(lpportunitit,;s nt DOb. despite staQing shortoges 1md dc;spjtc their ample gunlitications ~1nd efforts.

         548.      The United States Congress wrote n letter over II year ago to the City of New York

demanding answers aboUL the Pmblom Code.

         549,      To date, neither the City nor the DOE have responded

         550       The Cjly Counsel has al~Q held hearings and demanded 6Qswcrs on the Problem Code


         ll.l , To dnt1o the City rcfusc.i.1Q n:soond or rcmi:dv 1hc i;;s111:,,
         552.      Multiple employees have seen proof ond received notilicalion l'rom the DOE directly

lhal prphlcn1 codes remain 1)11 Jhcir lilc;~. cycn llm11gh the mandate; was dr\lpl)Cd over it yc;ar nnd fl

h_alf_ag11,

         553.       l'hc Problem Code is nnl only visibl..: internally a1 the DOE cilhyr.

         554.      Many fom1er DOE cmplovees have been informed b~ private schools and even


                                                                                                                   66
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school:; outside-2.(_th(Ulis(rict thut while they urc excellent cundidlltcs.1he ProbIell) Cod~makes them
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        sss. Plnjnti rr has been unable to find work anywhere in the City because of this Prohlcrn                                 Formatted
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        ~.L_Pl11inti1T's     □bility to do contract work through her not•for-prQjit was also impacted~              j:{-~ ormatted
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Jhc Problem Code,                                                                                                          ,,·
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        "'"SS1 •
        .,,.,..,            , ·n· [UQS a not• f,Qr-pro1·Jt bUStneS~
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supnorting studcntUYilh..s!is.tbiliti.~ther nt-risk children that was rcgi~tcred with, the. N YC.                           ":j Formatted
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Sol1:1ti011s P0Fl11l}-tk!enri2!;, to the_plnccmcnt of th£.Problem Code.i!1 her ti le:.. These ~.ffl'.lml!:t!fil                    Formatted


are used for grant and RFP proposals.

        558,     Because Dcfeoonnts placed the Problem Code in her l i ~ h the City and DOE

levels. Plaintiff's not-for-proflt wps r.;moved frorn the vendor portals nnd she is no longer able to
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:iuhmi1 gmn1 or ill.nr:!w~                                                                                                    ~
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        ~~59             Plaintiff\Y!lli.,also-was barred from applying for city contract work because she-               ., • Formatted
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could o o t ~ r access the.Mayor'l\.Officc.o(.Contrac~Services.(MO<;:.§wrtal afier the Problem //: • Formatted

Code wp~.olnced on her nt~~Onc. mus~ be.. registereq i~ this.portal to i:ecciv_e,.I\.contrac~fro111 the,. Ci(Y. {             } ~ormatted
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oCNew, York,_ and, to bid. ol\_jgbs. anq, c,ommunicate. ,_yjtl\. venqors. Pff!mti A's f18FIBI Rumb!)~.!lfld legiR                l Formattecl
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        S6Q.    Plaint iff bnQJln uccount in good standin&,

        561.    Since the Problem Code wa~ attached lo her lilcj)ct account no longer exist~. When

~he ~carch~s for it. she gets a message statmK: "vendor #vs0006018 is not fQund."

        562.    Before the Prohlcm Code wtis placed, Plaintiff hqd 11ccess 10 all these portal~.

        ~1,,__!:ljtinti fT and her flO\;Jor-profil have npt commiJt~ct that should rcwlt in their

removal frorn the portnls.

       ~,564.           Upon information and belief, tht;..fingerprints of unvaccinated teachers have-                    Formatted: Justified, Indent: left: o•, First line: 0.5".
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been shared with the. Federal ~ur,e~<,.( lnves11g8H8HSl.!!Y£.!i!J&otin11 (FBI). and the. New. York. State,,

DivisiOI\ oC CriminalJustice Services.lee,.,Pe9/qration ofBetsy Comb/er, tiled (j/3/:).'.lWJ_ in Kane

v. fkf!.! Blasio, 21-CV-7863 (VECHl(SDNY), attached hereto as Exhibit A~.
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tt wai...er Afrigh1:11t1 " ... ehellenge 1he in~oluRlBF)' resignalit1A, ineludiAg. btil n01 lintt~




       565     DOI-; nlso impos.;d a funhcr bprrier to continue retaliating mrnin,:;t employees who


                                                                                                            68
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        566.     Though DOE is aware of multiple ongoing law~uits challenging lhc discrjmim1lory

religious accommodation policies they have attached a "'waiver.. requirement for employees who

wish to be reinstriJcd. und somt; who apply as new teachers.



their right to chnllcngc Defcndonts' djscriminutorv conuuct as u condition of getting rehired or

reinstated,
 ,4;,-Qn February 2 1, 2023, Plaintiff timely mai led a new Notice of Claim, by certified mail,

                                                                                                            ( Formatted: Not Expanded by/ Condensed by               _]
 & f • 1 + 1 ~ i e ~ ~ e t ; - N e w YeFk NY:Jbc City and the DOE, notifying

 both parties once more that she has cluims for discrimination. failure to accommodation•

 .!1!11!.l}'!ll!I twn.ination and t+1e-New-¥er-l.-G+ly-9epartmeRt efEElueotien, 52 Chameers Street.



       44:568.                                                                                               F;,-matted: Justified, Indent: Le~ o·. First line.: 0.5~,
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othcr~lso fncinJU.Qlllliation from the Problem Code issue.
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        ~ D~fcndnnts foiled to adjust the clujms within the statutory period,

        lli..._Plninti ff !!lfilLl.Lm__!ili!_filed a Gempleint-with-¼he- lJnited-states-scconq_EEOC eA

J.-OA-~hnrge - '.ldding clnims ofrctnlintion ngninst both P.,fondants,

        4➔.571.          On Jwly S, 20:.!~~tcmbcr 18. 202          Plainti ff received a R-igtllri&h! to &le •   rF;rmatted: Body Text. Justlfled, Indent Left: 0", Flrstj
                                                                                                                  line: 0.5", Right; 0.08", Space Before: o.os pt
~Uer,-1''91-!ewi1l8-fil!£Jcttcr from Jh1t.EEOC on this ~ a i n t - l ~ ~ ~ ~ i g n e d                            Numbered + Level: 1 + Numbering Style: 1, 2, 3, ... +


b~• Kristen Cltlfke    A!;~i· lent Al-tame~• General and K. F1iFgwsen 8t1peF¥+!let'-OA 71112022. etteeheEI       IStart at: 1 + Alignment Left + Aligned at: 0.5" +
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        lll.., Pla!.{ltiff~nablc to afford or sccl~lf.Sim~p help her with her case.

        S,13.     On £Jc~!:.!J1bcr 12, 2023, ~he timely comrnen~-; J!.i;tion in (<;dcral court pro se

before the njnct,-da,y period clupwd from receipt of the right to sue letter,

        57<1,     Plaintiff suffered severe finnncinl, cmot1on11l. psychologicnl and spiritun) hlID.!l

bccnuse of Detendnnts' discriminatory uctions and policies for which she deserves comnensntion

under numerolJrnS Qfaction.

                                     flRST CAJISE OF ACJIQN                                                       Formatted: Font: (Default) Times New Roman. 12 pt,
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                         (Failure to Accommodate in Violation of Title VII)                                       Formatted: Font: 12 pt Bold, Underline
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        576.    As and for a First Cau:,\;   or Action, PlamtjIT nss,crt;; that both Defendants failed IQ
m:emnmodntc her religious belicf.s in violation of Title VII

        577.    Title VII imposes an affirmative obligation on employers IQ make reasonable

accQmmodutions for their employees· Cor potcntjn) emp)o):s.-cs'} religious beliefs nnd prncJiccs. 42

U.S.C §2000e(j): 20 (..~F.R. § l605.2Cb}.

       578.       PlaintifT was entitled to nccommodntion, but was denied religious nccommoclntion.

first by tlw DQ!l_and then the City, in vjoljltiqn of [itle VII,

       iZ.2..__t.fier the Citv was forced by jl tgmooran restraining order lo amend the Mnndat£JQ
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nllow for religious excni12Ik111sJnd the DOE wru; forccd,_ey_al]_ iirbitrn1or to provide religious

uccommndarions, each responded b> prctcndjng to olTcr it. but instead conspiring to deny as many

11pplicants   as possible, including Plaintiff.
        580.      First. the DOE and the City conspired_ to get the urbitmtor. who WO~ ll mnjor donor to

the M11yor.J<>_ !ldJ!.P-t their propQ~cd i,:riteria l"Qr what qµ11lifo,:d_lor religious accommodation. which
was blatantly 1111cn11stitutional.

        58 I.     Among othi;r discriminatory classilicutions, thi; Stricken Standnrds issued by the

pr],liJmtor conditioned access to nccommod~,, ion on m.:mbership in u prderrcd rcligiQUS organ iz.utjon.

        582.      The Stricken Standards also impermissibly n:gui~d a clergy letter aml thnt so-called

religious •·Jcadm" P&O<C!!. with each emplowc\ religious beliefs concerning Covid- I9 vaccination,

        583.      U nder the PQ)icy. personally held views were categorical!-, excluded. and lhc City and

.QOE admitted lhnt th'<)' jn_tendcd to exclude oil CathQli_c_s nnd most other rc)jgions than Chrj~ljim

Scientists rclieG

        584.      11w DOE then purticipmcd in th,r appcnls to zc11lop~Jy argue For discriminatory

reasons to deny armlicanls. for cxnmpl£.....b9c~_11,c the Pope did no\ sha~Jheir views, resulting in the

denial ofoyer 90°1., of the anneals to !he nrbi\rntor,

        ~         Second. though the 11rhitrntor's nwnrd required accommodation wi1hQlll regard to

undue hardship (nl kusl for those who qualincd under lhe discriminntory critcrjal. DOE denied ewry

sing!1, m:mligmt on the pn;tcxtutll cluim of "undue hnrdshin·· btl~ey on the unlow(ul "morc...tb!\O..J!

minitnal burden" wjthout ever assessing in good foith whether thcv could have accommod11tC(I any

emplowe.

        S86.      These dctcrminntmns were prctcxlu.i),
        5R7. These determinations were also infected with the same animus that infcclcJ the
ri_ppcals and the entire religious accommod11Iion policy adopted. enforced ond jmnlemcntcd by lh!,l
 Case 1:23-cv-09248-RER-PK                              Document 29-2 Filed 09/20/24                           Page 73 of 107 PageID
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Defendants.

           588.    Defendants did not individually rovie,\ the <1[!pliea1ions before sending out the

denials,

        589.       The same denial was sent oul to employees wh9 already ~urkcd rcinotclv or easily

@...uld have done so. including PlnintjfI

        590,       The denials st11ted on their face thnt the standard used wa'j the "more than a minimal

burden" or de mi11imis st11ndnrd. which was found unlawful ~nited Stntes Supreme Court jn

Groffv, de .!o.i•, 143 S1 CL, 2.22.9..(WJ1Ple.iAtiffsubs~~~Aled-~•har,ge-of-                                   ( F~ m! tted~   Expanded by / Condensed by

           59 I.   The denials also ~tn1aj   on their face that they were issued in accordance with the
Stricken %1ndi]rds. whjch were lbund unconstitutional by the Second Circuit,

           592.    The DOE did nol consider lhc required statutory factors before denying rcliel'hased

on undue hard~hiD,

        ~          It woyl_!I nolJ.1flYC been an undue hardship to ilCCc>mmodate AID' Q.ftl)£JUmlicants, but

especially Plaiot ift:

           594..   Third. Defendants knew 1hu1 !ht: SOLAS )¥Stem, which wa,~ the method given lo

DOE employees lo ppply for uccommodation...JY!is cf!lShing und glitching and shutting mnn~o_nl~

out ofhcing nble to npoly by DOE' s arbitrary dcudlincs OJ:..lllm!:n!.

           595.    Yet, <.lvcn when employees alerted supervisors und others responsible for onsu(ing

reasonable accommodati9n at DOE that thcv needed religious accommodation and wen;. unable lo

apply through SOLAS, DOE rcfu~cd to individually consider their applications.

        l2§..----1l\UQ11I wns never to actunlly assess reusom1bh; rolii;:iovs obiectjons..J1UQod f.1ith

        597.       Defondonts" sh11red goal wns lo find a pretext to deny as manv people us po~siblc.

           598.    To thal encl, DOE mode orbilrnrv diMinctions (0 shut c1m,loyc.;s out of access lo

!!C£Qmrnodntion ut e, cry po~~ibls; tum.
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        ~2,______]]_1osc thnt did get a review py an arbitrator were typicn!Jv dcl}icd wi_th no

explanation. just en "x" m;xt to the word ''denied."

        600.    Aller she was denied religious 11ccommod11tjon. PlaintifTand her simifurJy situated

religious colleagues were pieced on leave without pay for failing to violate their faith bv l<tking a

~ovid- l 9- "accine and eventually term innted. for~ to resign. forced to go 01, exlendcd unJllii.d

leaves, nncl/or forced IQ violate their sincerely held religious bcljc[s,

        60 I.   Founh. after the Second Circuit held that the DOE's rcligiou~ accommodation

DQlicics wen; not neutrnl or generally applicable. ;md were bl11111ntly violntivc of the Fir,;\

Amendm~fi;ndanL~ foiled to rcmedinte the hrum a~ the Ci\Y..had promiscdJhe Second Clrla!i!

thc.:y would.

        fil!L_I_nstcad. the City refused to consider thousands or employees denied religious

nccommodation under the original ndmjttedly unconstitutional scheme. including the P!aintill: even

!bough they knew that these employees were SC\:~gious 11ccomm.9_datioo_, unqJh~D.QI; oid.<lQ

flnd nbctted Ihis rcfosal.

        603,    Fi Oh in August 2022, the DOE offered to rcinstutc those employees it had terminated

or forced out after failing to ncconlllloda~· them to their prior positions and level of seniority Out

even though the CDC had just issued gujdonce affirming the long known scionti fic con~cnsus that

th11 vaccinated and unvaccinatc__d posed the same level of risk of transmis:,;jon. the DOE fai!.cd..J2

provide a-:commodation lo lh\)SC it knew, or should have known.              wus seeking religious
™-mmodation. und denied CVCQ' application 2n..meIextual '\ 1f!due hard~!l[P." ugnin hased 011 .lb£

de minimi~ standnrd.

        604.    DOE was regujrcd to accommodate {Ill)' employee ..QLJ2IP.l'peCtiw emplm1r:r:.

j1_1cluding Plaintiff: that thcv knew or should hnve known required accommodation.

        605.    POE.Jrncw Pluintiff required accommodation nnd refused lo accommodate her in
  Case 1:23-cv-09248-RER-PK                               Document 29-2 Filed 09/20/24                              Page 75 of 107 PageID
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A ugust 2022_so that she cou)d come back w ithout violati ng her religious b~icfs to the posjtjon

o[crcd by DOE,

       606, To 1he extent thnt Defendants elqjm " undue hardship'' as n defense, Plainti[rcwrvcs
the right lo rebut such allegations in more detail and with forthcr evidence, llS undui: hardship is an

affimmtive dcfcnsut1c! cnnnot gjyc rise to dismissnl f'Qtfllilunuo S1nte n clpjin,

       607.       Under Title VI I. the burden is on the employer lo demonstrate '"thut he is unabl~ to
reasom1bly accommodate an employee' s or prospective employee's religious ohscrvancc or prncticc

without undue hard shin 01JJ.n!L!lQnduct oftiw employers· business." 42 U,S.!;. §2000c(j).

          608.    For n Title VII claim. und_u1~.JJ!!t(IJ;hip is 5how11 "when a burden js :u.1!?,<;Jnntial in the

ovcroll context of an employer's business"'. Groll:V De.Joy, 143            s Ct 2279. 2294 (2023). •'[Aln
employer must show that the .lllll:dcn o[ granting an 11ccommodation would rcsull in substantial

incryased costs in rchuign to the conduct of its particular business." /d.,.J1t 2295 (inturnal chations

<>mLtt&
          609.    To prevail on this defense, Defendants must show llwY considered oil options for

!)CCOllllllOdation in good lililh und prayed. prior to dcnjat. that such optjons were untenable

~Qm!Jl.gjo stattnorv foclo(S..iYl!Lanalysb or objcctiw evidt!l1CC nsscsscd against each indjvjdua!J;

circumstances,
          610,    Defendant:; did not meet their undu,; hardship burden. nnd the denials on !hi~ basis

~ere pretextual and unlawf11l.

          61 I.   EEOC guidance and Supreme Court nrcccdcnt haw clorilied in recent year~ 1h,1t

~!.lni nts based on the "qc minimis'· stnndard urc unlgwful

          612.    Yet, nil of Dcfondnnts undue h11rdshjn dcnitl!s ~tnt.:d. on their lace. lhnt th.:y were

made based on the dc_minimis standard,
          6 13_._Jhc denials abn viol@)C EEOC gyidnncc from 202 l.
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including telework and reassignment. Jn many circumstances, it may be possible to accommodate

those seeking rca;;onable accommodations for their religious belief.~. practices or observances."
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        616.        Defendants fujlcd to £Qnsider al) po~~iblc reasonable.._ af ~ 1:rul'.lodations--H'lHfle~.
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accommodations,
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        4%17.              The 202 1 EEOC Guidance te-en~yers also stated, thnt "If the employer                                                           Formatted                          ~
de11ies the employee' s proposed accommodation, the employer should explain to the employee why
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the preferred accommodatiof\. l!J. nql;. being &f.!llltcd, Al\ !l•r ployer. should., cq11_sjd_~r.-aR.Pl?.S~ibl~

alternatives.Jo ~etennine whlllhcr exem_pting__~__e_lllployee from a vacci11a~\~p req~jrement would

impose nn undue hardship." Seetien L. li.
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¥iolation of Title Vl-l of tlle CMI Rights ,bi Gt of-4%4                                                                     Formatted: Font 12 pt Bold. Underline
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alternatives to full exemption.                                                                                 ··-' \ Formatted: Not Expa~                   / Condensed b[ J

        619.     Instead. Defendants denied 100% of applicants based on vague assertions of'•undue
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hardship". even those.Jj_ke Plaintiff. who had administrative jobs that could have been done

remotely without issue,

        620.     Then they argued aggressively to denv 1iny that appealed based on discrimina1ory

nnd unlawful definitions of what constituted a val id religion.

        62 l.    Tellingly, after the anpe11ls in the foll of 2021. the DOE did pccommodpte~                                 Formatted: Font: Italic
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~ a l lcnst 163 employees, some of them 1eachi;:rs, who posed no different threat than

Plaintiffs and the thousllJ1ds denied

                          DOE made this determination bnsed on criteria hpyjng nothing to do with ..                          Formatted: Body Text, Justified, Indent: Left 0", Fi rst
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~nfctv or economic differences, and only to do with imR!!rmissible criteria such ns membership in 11
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preferred religi9us,. beliefs iA \lielotieA arTi~I~ ¥11.organiza)iQ(h
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        fil_.    As a direct and proxin.1!\te result of Defendants' failure to acQQmmoclqte her, l'laintift'                  Formatted: Not Expanded by/ Condensed by


and her colleagues denied religiou~ accommocl11tion suffered. and continue to :;u!Ter economic

damages. severe m.:n1al angujsh and emotio11al distress. depression. humiliation. embarrassment.
                                                                                                         +9
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stress and anx iety. loss of sel f-cstecm nnd sc1(-c;Q!1fKfence, nnd emolion11I mtin and suflering.

including physical symptoms. for whicl\thcy are entit led to an award of monetary damages in {IQ                (Form~   Not Expanded by/ Condensed .;,;_b,y___7___,

amount to be determined at trial.

         624.      Plaintiff is   also entitled to iniunctivc and other equitable reliel: including
reinstatement wHh no m:c11k in service. front pny and bae1LMY. l11 salmy and all b@efits and

employment terms. including retirement credits. compensatory damages, including pain and

suffering. nominal damages at an amount to be determined at trial. ll!ld attorney's foes. 42 U.S.C.

.§il981 n(a}(J). 2000e-5(g)( n. fk).
         625,      Plninti[ is ajso entitled to puniLiyc damages in an amount to be dc1cm1ined DI trial.

Under Ti tle Vil, Plaintiffs can "recover punitive damages . . . [by] dcmonstrat(ing] that the

respondent engaged in a discriminatory practice or djscriroinatorv practices with malice or with

reckless indi fference to the federally protected rights of an aggrieved individual." 42 U.S.C. §

)98 l a(b)( I)._
         626.      And Plaintiff is entitled 19 reasonable attorneys' fees and costs,

         627.      Pursuant to the ;-jngle filing rule. PlainLiffrcspcctrully reserves the r ight to add more

Plaintiffs nnd n..w·oposcd class of those sjmilacly situat~d u nder the single filing rule to m(lke this

litigation more cost-effective for her to pursue.

         628.      Pursuant to the same rule. all members of the proposed cl ass are entitled to Title V II

relief on the snme b;l;;is without individually exhau~tjng administrative remedies, See Tolliver v.

Xerox Coro.. 9 18 F,2d I 052 (2d Cir. 1990),
         629.      The claims of the odministrative clainwnts and the rest of the propo~ed class 11nd

grmip all arise out of the same circumstances and w ithin the ~ame lime frame. This is sufficient to

!!ll~untire class to joi n in this claim pursuant to the sinslc-fi ling rule. Id. al I 058.

         630,      /\ddilionally. though they m;ed not have in this oction. the administrative clnims and
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wponses from_D.,fcndants provided notice that the is~rn:s were class wide.

       631,        Defendants and the EEOC were also on notice that the issues were class wide thrm1gh

the tiling of hundreds of other claims from similarly situaJed DOE employees, nnd multiple related

proposed clnss-action Jawsyits referencing the widespread violation of Tit!e VII and anticipated

actions regarding same.
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       632.        Plaintiff nrnscrves the Single Filing Ruic a.~scrtions for each of the Title Vil cluinu
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made herein.
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       633. Plaintiff reincurporntes 1111 parngrnphs ofJhis Complaint ns if f\1lly written herein,                     ih by
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       634.        In addition 10 failure accommodate claims. Plaintiff asserts straj~ht religious                  ,•:i                   12 pt _ __
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discrimination claims again~! both Defendants - inel11ding but not limited to "pattern and pmct ice",              t:'!I by
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"di:mnrl!tc impact'' nnd '"as anplie~                                                                            'f _:,. Formatted: Font: 12 pt. Not Expanded by/ Condensed
       635. Title Vfl was enacted with the purpose of prohibiting employment discrimination                       ~'./ by - -
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based on religion. nmong other protected characteristics. 42 u.s.c § 2000c ct seq. 7I.                         ~(. •.• Formatted: Font: 12 pt, Not Expanded by/ Condensed
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adversely i1lfoct his status as an cmplovec. because of such ipdividual's raco;;. color, reljg.i9n. sex. or             1
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       filL._+it!e-¥1kiei:ioosPJaintiITha<;J?r<1tS:J:!gp religious belief,;,

        638.    She was qualined to hold her position. ~s cvidcncc.:d hy the fact that she was a DOE

employee in good stunding hcforc she was denied rcljgious accommoda1ion.

        639,    The fact that accommodation wns offorcd shpws that it WJ!S not nn employment

gitalification lo be v11ccim1ted. ~ince cmplvyccs could receive rel igious accommodation nnd still be

4uafi11cd 10 work at the DOE even if they wen.: not vaccinated, and aw:ast 163 employees did receive

such 11ccommoda~ion to continue IQ work for the DOE unvaccinated.

        640.      Mptcovcr._relal\&_!itjglJlion has already held thnt the City lacked thc;_qu_thQriU'...!Q

require vaccination as a condition ofemployment for DOE cmriloyecs. and Dcfcndnnts arc; on,:~·ludcd

from rclltigating that jssue here,

        641.      Phiintiff suObrcd adverse cmplovmcnt conditions as a rc;mlt of Dcfondunts'

dbcrimination. including, /11/1,t.LJJ.lia. being denied religious accommpda\joo. ~~S.~ witl1 Q.U~

tenujnated. chrJrgcd with ·'misconduct". denied unemployment compensation. having a Problem

Code nUiJChcd to her record, and facin~ im:pnrnble djUnniw to her rqputation end employment

P.rQspccts.

        642.    These adverse actions occurred under circums:lnnccs gjying ri~e lo un infc1'C11ce of

discriminotion.

        643.      In rac1 1 the cyidencc in lhis case rniscs much more than just pn (n(rre11cg of

di~crimination. which is lhe most 1hut is rcqpircd under notic.i1.nJ.ertd_ing ~tandurds.

        644.      l)cfcndanL~' adoption, inl!llcmenlatinn. rntiflcation and cnforccl1)£nt of O raciallv
disg-iminntory relieious accommodation policy. whjch conditioned access to accommodation on

mernbi:rship in ,1 preferred religious grgnnizoliQ!h..and excluded access to those \ri!h unQ..r\liodox

rcljgious bxl icls, or an opposition IQ abortion. ~hows discrimination as !I matter of law.

        645     The.: Supreme Courl has held that 1111 cmplovcr'~ ndoptinn of a po licy that makes


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express classifications based on a protcct<;,Q,__£haractcristic constitutes ''<;l[rcct evidence of

discrimina1ion," which is sufficient a,~ a matter of lnw to win relief absent an 11flirmativc defense,

Ti-ans World Airlines, l11c. v, Thurs/on. 469 lJ,S. 111 ( 1985).

          646.    In so holding. the Supreme Court explajncd that ..the AtcD011ne/l Douglas test is

in.appl icable where the plaintiff presents direct cvidcn<;!C_Q[giscrimination." Id, llt 121 (referencing

McDonnell D011glas Corp, v, Green, 411 U.S. 792 {I 973)),

          647.    Us1.: or such classificntions demonstrates a discrimi natory ourposc as a matterof law,

wilhout regard to the dticision-mnkers' animus or subjective inte1ll, See Milfer v. Johnson, 5 I 5 U.S,

900. 904--05 C1995}: see (IJi..o_ HQssa11 v. Ci/11 ofNew fork, 804 F.3d. 277. 295 (3d Cjr, 20 lfil.Tu1
nno1h1.:r wuy, direct evidence of intent i$ 'supolicd bv the policy It sol f. "'),

          648,    The Plaintiff's cnsc here is even stronger limn TWA, becuusc un like the age

discrimination statutes. there i;:; no affirmative defense to a policy that discriminates b.::twccn

2J:!hq9ox and unorlhodox rcligjous beliefs, or preferences so_111e faiths and religious belicf.s .9ver

others.

          649.    The Stricken Standard policy made C;>i(l[CSS classificntions based on protected

chnracterjstics - 10 wit - mcmbcr~b_ip irULd_isfavorec.! religious group and d!<)1ncd all other re!igjous

beliefs as somehow oot mcritjng the same protection as thpsc the policy favored,

          650.    Contrary to the Stricken Standards' unlawful criteria, tho term " religion" te-tfleitttle

i.,includes all aspects of rel igious observance and practice, as well as beliet~                   . 42 U.S.C'

§2000c(j}.

          651 .   Protected rcligjous bel iefs also inclpdg "moral or ethical beliefs ns to what js [ighl..l!llii

wrong which arc sincerely held with the strength of traditional religious views." 29 C.F.R. 1605, 1;

42 IJ,S.C §20QQru1
          652.    It is wcll-setlled law, ,1ck11owlc<lged by the Suprct11c Court orthe United Stalo:s u!I the


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indi,id1111I ~ckin11, Ip 1h:inonstrntc a sincerely held religious pclicf imper New York Stptc or fodcrnl

statutory or com;titutioonl standards need not prove that hjs belief js port orthc recognized dogma of

o religious sect. Ser, e.g.. Widmw >', l'inc:cm1. 454 U.S. 263 < 198 ll ("The hclietll m:cd not be

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recognized religious orgnnizntion."l
         653,     "The f'actJ.hfil..!hi; religious group to which lb•' indlviduµI mo fesses to belong mny not

11c~\m!_ ~11c.h _b_!:licf will not 1f~termine whether the INiier is II reli&i.Q.Us b!:Jj_cJ.'...2fJ.!J£_c111_pjQy_~t-.,:_)_2

C.F,R. 1605, I.

         654,     An employee's belief or prncticc cop be "religio11u                    nder l'ille VII even i f the

employee is aj_l1liated \\jth n religious group thnt does n_g_t c~pouse or recognize that mdividual's

belief or pract~f fc~ - __Qr.._no - other peoph; adhe~ to it. Weis/, v. U.S.. 398 IJ.S. 333, ill

illfilllng tlml petitioner' sbelief;, 1~crc reli gious in natnrc nlthough the church Jo which he bdo~

did not tc!!_ch those b<;licfs): Thomas 1•, Rev. Bd. Of/ml. £mp 'r Sec, Div., 450 U.S. 707, 715 I I 9R J)

ulli_agr~aemcnt amon.&,.~cct worker~ as to whcjhcr_lhcir religion made it sjnful_to ~~jn go nrmn1nc1m

il!£!.QO'..J..o:sh.:v11nt to whether belief W!Lq rcli~ious jn 1m1ury hcenusc ·tt)he guorantcc or free exercise

is nut limited to beliefs which arc shared by an of"the member~ ofn rcligipus sect. l.

         fil____f;_mploycrs. csoecinllv gpvernmt:nt employers. must not cntunglc themselves in

Dili&j.QLJHt~stions when usscs~ing a regucst for rel igious ;1ccommodlltion.

         656.     l;mploycrs, cspcci oliy government cmplowrs. cnnnot substjMc judgment for the

!,ll!lP,loyee t)bout whether thr;: belief is religious iO..J!.!lll!.&.

         657, Nor cnn cmnloygrs, csp.;ciqlly govcmmi:nt employer,;, denv ni1 upplicant because hi;r
religious beliefs overlap with simih1r }CCU IUr COllCl!ms - rcligjous cmp]O)'Ct.!S ilCC entitled to hl!VO hqth

religiou~ and seculnr _concerns. nnd Jhis docs not diminish protci;tion or the 1,;mplovcc' s relig ious


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practice~

        658,    'I he Supreml' Court or the United States cautions: '"it must be remembered that, in

resolving these cxemetion problems. one dC!IIS with the beliefs of different indivjdual;, who \'~i i!

nrticulutc them jn 8 multil\ldC of ways. In such 1m intensely personal area, of course, the claim of'thy

registrant hat his belief j:; nnJIB,Scntial pa11 ol' a rcli~J•~ faith must be 11ivcn grept \\eight." U.S. "·

Seeger. 85 S.Ct. 850. 863 ( I965): See q/so EJ~·oc I', Uniled I lea/th p,-ogra/11.\' o{Am. Inc.. 213 F.

Sun113d 377,393 {E.D,N.Y. 2016) ("Delineating the meaning of·rcligion' lbr gueposcs ofTitlc Vil

often requires resort to First Amcndl}lcnt cases. where nontraditjonal rcligiops rrnctic!lli_nrc n

fh;gucnt source of!itigation."l,

        659.    It js jmpermissiblc "to gucs.t.ion the ccntr11lity of particulnr beliets or prpctjces to u
fflith, or tho validity of particular litigants' intcmrctelions oftho~e creeds,·' flemandez v. Comm 'r.

490 U.S. 680,699 (19~.21..

        660,    Dcfondonts violated cnch ofthCS() basjc rules and more.

        66 l.    In addition to odnpting a wrjttcn policy lhot makes express cltissif1ctt1ions und fovors

e9r1pin religions owr others, hnstik commenis by high-level City actors" and DOE agents µbout

the invalidity or sincere religious _objections grout1dcd in cor1ccrns rtbout abortion or 011rsgn11l

prnycr. or derived from rcligjon& other than Christian Science, constitute rurthcr direct evideng; of

~~£rimina1ion.
        662.     A~ Dnd for another count of' direct evidence of discrimination. the Citv and DO[

furt.!icr discriminnts;d m:niim_Plaintjffs by ~uhjccting those who djd not..rumlil'y under the Str.ir~en

Stnndards to a more onerous undue hardship stnndprd than those who were fovored under the

ynconstitut ional criteria.

        fi2l.... lJI,d~r the Stricken Stnndards. 1hose who met the disc.r.i.v1inat~lry dcfiniJj.Q.n ..~hnll be
!!C~ommodatcd" and no prq_~i-~ior1y1a~ made for nn u!)duc hru'dship defense. Pursuant to tlu1t no,!ic_y.
 Case 1:23-cv-09248-RER-PK                           Document 29-2 Filed 09/20/24                          Page 84 of 107 PageID
                                                             #: 429




!!Ucast 163 people were accommQda~

        664,    Bui when the Citywide Panel gnvc SUp[X)Sed "fresh con5idcra\ion·• to the

applications of some of those denied under the orjgjnal Stricken Stnndards,J.hey appljed a blanket

undue hardship ban on accommodation for nny teacher anc.l mos1 other employccs           thus imposil)g

a lcs~ncrous stpndnrd.

        665,    Ry ndopting a substantially ditTcrent undue hardship stnndurd for those who were

deemed to meet the discriminatory criteria of the Stricken Standards. both POE and the City showed

direct discrimination ;1guinsI unorthodox religious beliefs.

        666.    Mon,:ovcr__lhey continuc£L..!Q_ appl}      the some unconstiuit.i.QnnL!mL!)ui.nS
{!Ccommod;ition of personally held religious beliefs and bclicfa grounded in concerns about

abortion,

        667.    Under the direct evidence stnndnrd of review. it must be presumed Jh:it the adverse

emp!ovmcnt actions were prctc~!lli!lJ.lrul.!!.ifil:riminatory. and. under this framework. Dcfcndiints

cannot survive summery judgment without usscrtjng an affirmative defens,.;.

        668.   No su~b defense is uva,lnblc because it is black lcuer law thnt 1he government mny

not tar~c1 n;ligiou, minorities for disparate trcat111c111. no matter how well-intentioned the subject

~ I ! may be. fru~ llmvaii. J38 S. Ct. 2392. 2423 <20UU..

        669.   In the alternative. even ,fthis were not II direct evidence case, Plaintiffabo sets forth

n primp facje en~ !!filler the McDonnell Douglas frnmewprk or any other framework that is

&1crmissible to apply,

        ~1Q.   Plaintiff has plQA~ed fnc1s tha\Jftrue )g_ad to iln i•Jfcrcnce of discriminatQryj_ntcnt

       671.    As <me of many cxamJili:s l'lnintiff ns:;crt;; that DOE re1m;scntatives and he i ~

rcprescntuJivcs have repeatedly made public: oomrn.cnts anc! of.JJcial c9mme111s dismis~ing and

~~0\\-ing onjmus towards religious opposition to vnccjnntion Cother than supposedly for Chri:..tian
  Case 1:23-cv-09248-RER-PK                            Document 29-2 Filed 09/20/24                        Page 85 of 107 PageID
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.S,c;icntists}.

          672.    Pluintiff.~ also provided ample evidence U1m gives rj~c 10 on inference of furthc1

di~crimination.
          673.    Fo1 cxunrnh;,, even though lhcv'd been ordered lo muke religious nccommmlations
(by u court and b) an ;irhitmtor}, Dcfondnnt~denied 100% nf all applicnnts immcdjatcly up0n

receipt of thciu1p.Qlication, lc11cling lQJ.!1G unnvoidnblc conclusion thal !hecieninls were prctcxtuol.

and based on discrimin;ujon rather than n good fuilh undue hard~hip findi.ng.

          674.    [he DOE' s representatives then argued renca1edly that applicants should be clt:nicd

for di~crlminatory rcasnnsjn [1~ appeal hcnring:; before an 11rbitralor prpvided unclcr the SLricken

Standards. claimjng all Jews, Muslims, Catholics ;ind Buddhists. should bu prcsum~

dbgpalilicd based on their religion. nmong other discriminatory D9lic1es.

          675.    This leads to ,,n inference 1ha1 nil nspccts uf the religiou~ accom1nodntion policjcs

were infcctc,:_q by the sl)me nnimus,

           676.   Thc cviclcrn;c al~o leads to an inference that the Citywide Panel's allirnrnnc~ of all

denials except one were infected by the snmc nnimus and were nlso prctcxtual.

           677,   ·niis is compounded J;,y hostile and dismissive comments mndc bv the MnV-Or and

Mr. Fichcnho_U7. who wa~ placed in chnrge orthe Cjtywide Pnnel process by the Mavor.

           §78.   It is also shown by the cmj1il sent to Mr. Eichcnholtz bv a trainee on the panel. who

confirmed Ihat Mr. Eichenholt1, had Lold her that bcljcfr; rclnted to a concern about abortion would

 not tx; nccommodnted,

           679,   It is al~o shown by the Citywide Pt1ncl's notation~ rccs;jycd in related djscovcry.

 which show that th1- Cjtywi_dc Panel conliOUt'd to reject 119rsonully held beliefs, such aw_dun~c

 from prayer. unlawful Iv suh~titujing judgment to lind that such beliefs, while sincere, nrc somchnw

 '.:nQt religious in nature·• 0 1 ·'do not preclude the applicant from gelling vnccinatcd.''
 Case 1:23-cv-09248-RER-PK                              Document 29-2 Filed 09/20/24                            Page 86 of 107 PageID
                                                                #: 431




        680.      DCl!!nd11nl s' dig:rim ipation impacted nJl .nwJiCJlllls_ftu:...r~Jigious uccommodatiQ.11_.

.!llJIDY..Q.LlY...hom were told. point blnnk told lhnt they were being denied reHefbcwuse their rcl jgious
" leader.. allegedly did not share their hl:licfs. among Qther discriminatory reasons.

        6ft I,    Pl11in1i!T should plso pn:v11il under a disparate impact 1heory of discrimination.

        682 __Q.wl_nm1e jmpact discriminmion js also barred bv Title VII, and "occur;; when an

employer ~-Otes lhet 11&--is-uses faci11lly neutral policies Jlr practices th111 a hnvc a

disprpportionntelv adverse effect on protected groups:· Ricci v. DeStefano, 551 U.S. 557. 577 78




        68L.::Qi,wll!J1k:i!n.P.nc1cl aims tlQ 11Cl.Llliil1iN a showing_oJdisgimin!l\fil.Yir1i..nJ." United

~ v. Brennan, 650 Ud 65, 90 {2d Cir. 20 11l, Rather, "a plnin1iff establishes a prima facic

violntjon b, showing that an emplowr uses ·a pnrticulnr cmoloymcn\ prpctice that causes a

disparate impact on the basis o f race, color, religion, sex, or national origin.... Ricci \'. DeSMcmo,

557 U.S. 557,...llW.QQ2) <citing 42 U.S.C. § 2000c-2{k}C l}(Al{j)),

        684.      An employer cnn rebut a prim11 facie case "by demonstrating that the pructicc js · job

rcl med for lhe position in gw;stion and consish.:nt w ith business necessity.'" Id.

       ~ . ....JJ1g_J2@lQ!iff. in turn. ca_!UQIDtt thfil.Bhowing by ..showi ng that the em__nloyer ref~~

l!LndOPlJll!.nvnilnblc...l!!J~cmploymcnJ priicticc thal hos less dispan1tc impact and serves 1hc

employer's legitimate needs." Id. {citing§§ 2000c-2(kl(l)(A)(iil alli!...{Cll._

        686.      "The basis for a successful cJispnratc impact claim involves a compari~on between

two groups       those afTec1ed and those unaffected by the facially neutrnl policy." 1:~ombanidi.v v, W.

I /avm Fir!,! ~ 2 _f ~ . 575 (2d Cjr.2.QID1..

       687.       Most people S!L~~ovid- I 9 vacci ne wilhq11_t violating their n:ligious belief~

       688.       But   a recognized minority of people cannot.
       689.       rhosc who cannot were dispuratcly jmpnclcd by the Co, id-19 vaccine policy, and
 Case 1:23-cv-09248-RER-PK                                   Document 29-2 Filed 09/20/24                                      Page 87 of 107 PageID
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the draconian religious accommodation policies that were imposed a'> a rc1-ult.

            690.     The employers cunn9( show thm jmppsing the Mandate was consistent with busines~

necessity, as the VHCCincs do not stop transmission.

            69 1.    But \lven if they could, the DOE could have been for less punitivi.: with 1hose

employees who were unable to i:easoiiabl;ytake the vaccine. ... __                                                                 ( Formatted: Font colo r. Bia~

            692.     DOE did not have to put a scarlel h.:llcr on people's files. or strip them of tenure, or

coerce them into signing waivers. or try to prevent them from getting work anywhere                    at th~ DOE

or elsewhere or refuse to do 3020n henrjngs, which by IIDY, they were required to provide to all

tenured employees before making ,1uuhang1; to con!lul@1..Q!'...QQnefits.

            £:693.           And the DOE could have come \IP with ways to a!JCQmf!l_Qdatc:.. te::,en •.,.                           Fonnatted: Font color: Black
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0ffljll~A.-business." 42 U.S.C. ~ 2GGOeU).employecs. like weekly testing. which wns suflicicnt                                      line; 0.5", Right: 0.08", Space Before: 0.05 pt,
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at every other schoo l district in the state and could IY!vc worked at the DOE too, .                                               Start at: 1 + Alignment: Left + Aligned at: 0.5" +
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a djsparate impact el11im among rolii:ions, ps some religions and types of religious belil.'.(S were
prcforred over 01hers during the religious accommodation pro1;oss.
            695.     As a direct and proximate rc~ult o( each Defendants· discrimination. Pli!inti[

suffered hnnn~. including bul not limited to those set forth in the first cause; o[actjon.

            696.     Plainti[ seeks ioiynctiye and declaratory relief. and clam11ges, including nominal,

actual, compt:nsatory, and punjtive damagc,;s. nlong with attorneys' fees m1rsu;111l to this cause or

a<,1tion.

            697.     rJninti.fl.J.u.l,~~cd t.Q..I£I!~.QIIable llttomeys' fees and costs.
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 S6. OefeREl1t11t ~r~lm51Hhot1~Fevtdifl~llffi&datiefHO-P-lttiflt.ifj:



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Aooefffiflg-ly, {l1~rl-slloukl-li11Ekhat (RetidiAtjon and llan1s~mcnt in Violation of Title VII)

        698, Plaintiff incorporo1es all other pamgraphs of this Complaint qs if fully set forth


        699.     Plaintiff sought religious accommodation from the vaccine mandate, which is

~t~d activity pursuant to statute.

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e3, D11l~Atlliflt DOS denied Plainti !T's l'!Mjt1est ftir a Feligiot1s e11ernp~eH-tis-he1• 8flfl88I of

thal aeniel, with01o1t any expl01iatien ef why aware that Pl11i11ti.t1=.snugh1 to protecl her religious rights.

l!S Plaintiff Imel app! icd fQ.Ulccommoda~ion ~ ~--                  ..

64:-P-latnli-lttretjtiest fer re..,iew-b~t-ywiee-Pooel-wtt!i If.om each und e11ch Dcf<m.ruLnt.

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                          42 U.S,C, § 19831 Violation of Plaintiffs Rights
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 ~fisaiot-ian the t!Ejl:le.l flFelee1ien of tile laws.'' U.S. Gens!. receipt of her a,A000. 14, Seet I.

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eo1:1ld aet ee graF1!t!Eland indicated that it w9ul4 be considered.•                  ~    eel: Font: Italic, Font ~   k
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         1QL__A!» ANf>.f~Rather th;.in nccommodate Plaintitrs religious needs. Dcfcndonls

denied accommodation. tcrminnted her, annch1;d damaging problem codes to hel' files al DOE and

illllJJt:i:: and conti nues to block her from attempts to get rehired           even as a new hin:...,

         702,     l)cfcnd[).!)IS also denied rtojntJ.1T.<; n 3020n heuring. even though it is illegal to tak~

advcr~c action against 11 tenured employee or attach a flmjjng of"misconduct'' 10 thcir. .t1Jcs wilhout

such hcuring.

         703. De fondant~ also have attnchc<l n coercive waiver thal prevents those wilh religious
objection~ from rctumios.._u_nlcss they waive !heir rig!_1t to challenge the r._cligiru1s cliscriminntiQI} lhcv

faced.

         704.     As n dirccl and proximnte rcsull of each Defendants' discrjminatiQ1, and rclalintign,

f.l..!J..intiff~uffcred harm~, incl\1ding blll not limili.;d to those sgt forth in the lirSl cause of action.


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 Case 1:23-cv-09248-RER-PK                                          Document 29-2 Filed 09/20/24                                                   Page 94 of 107 PageID
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          705.     Plajntj[ scckll_jnltmctiye and declarptoo· r,:Jjc( an{j_ damages. including nqmJ@.1                                                 1
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actual, compensatory. and punitive dnmagcs. along with attorneys' foes pursuant to this cause of                                                   i          ---
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          706.      Pin inti ff is also entitled    to reasonable attorneys· fees ond costs.
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                                           ,FOURTH CAUSE OF ACTION                                                                                          b
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          707.      Plaintiff repeats and rcnllcgcs all paragraphs of this Complaint as if fully Sl't forth                                      line: 0.5", Right: 0.08", Space Before: 0.05 pt, Line
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violation oflhc SI-IRL, ..                                                                                                    .... - .l j i:J. Formatted: Not Expanded by/ Condensed by

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          709,      At all relevant times. the SHRL has bcc_n in full force and e!Tcct, and has applied to                                  / /!':.  Formatted: Not Expanded by/ Condensed by
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.122.!h.Dclbnclants' conduct.                                                                                                              / \';!!, Formatted: Not Expanded by/ Condensed by

          1.lQ,__Defendants. ..,i.:ileted tile_New_ Y:!!i:I~ ~t&te Ut1m1111 Rigllls
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          711.      The SHRt provid\:~ ..i.
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        employment-=...in£!.\li!J.ng opportunities for promotion, advancement or 1n1nsfcrs. any terms
        or conditions that would require such person to violate or forego a sincerely held practice of                     Forma~Not Expanded by / Conde~         y
        his or her religion.-=.....,_unless, after engaging in a bona fide effort, the employer demonstrates               Formatted: Font 12 pt
        that it is unable to reasonably accommodate the 8ffii'lleyetHiempJoy~•s or prospective                             Formatted
        etfif:»O)'ee!senmlcwi,:c' s sincerely hel d religious observance or practice without undue
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¥aeei11e tnMEla~
         712 I\ is 11lso a violJ1Jion ofthe SI-IRL for any patJY. to aid or abet anothi;r in the vjolali<m

of rights guaranteed thereunder.

        713.    Undue hardship is defined under lhe SHRL as "an accommodation requiring

signi f'icant expense or clillcully {inclucljng significant intcrforcncc with the safe or emcient operu1ion

of the workplace.. .}." N .Y. Executive Law§ 296{10Cd}

        714.    I f the undue h<1rdship is alleged based on a safety concern. 'Jhc employer must make

an individuali;,ed assessment. based on rcITT.onnblc judgment that relies on current medical

knowledge or the best avHilablc ubicctjvc information to llSCertnin: tht: nature. duration and severity

of the risk; the probability that the potential injury will actually occur. and whether reasonable

accommodations. such as modification of policies. practices or procedures. will mitigate the risk." 9

CRR-NY 466.11,

        .,_
         7,..
           )5.,_._,A.,.__,,tall relevant times. Dcfcndqnt~ r   l aintiff' s. employer, or.pQ1ential £mployi.r, as         Formatted: Font: 12 pt, Not Expanded by/ Condense~
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defined by the S1-IRI,.                                                                                                   Formatted: Font: 12 pt          _
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        716.    The City was also tht.: DO E's agent. in the Citywide Poncl reviews, and controlled the
                                                                                                                          by_ _ - - - - - - - - -

DOE. directing, aidjng and abetting the cliscrimi_natoo: prac_ti_c_e_utt every level of review.

        717.    for the same reasons set forth above in the First C laim, both Defendants violated the

SI IRL by foiling to accommodate Plaintiffs.

        71&.    The same standards which define protected religious bcl icJ!Ll!nder federal standard~

govern state and local statutory accommodj1tion requests, though the SHRL and CHR,L arc more

generous and expressly include creed a5 aprotected category or religious belief.

        719.    Similar._,~tatidards govern the undue hnrdsh!P. determinution. though there is a

heightcnecj_hurden on emplovers ypder the $..HRL to show a significa/1/ byrdcnpng tQJ!~sess !Jpccifie

factors using the most current objective cvideno: prior to denial of relief.


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       720.    fajlurc to c ~ in coopemlivc dintoguc about undue hardship also lc~ds to a strong

presumption of discrimination under the state statutory requirements.

        721.   Accommodating Plaintiff would not have required significant expense or d~fficulty

from DOE.
        722.    Accommodating PlaintitT would not ~i&nitlc.antly interfere with the safe or efficient

op<;rnlion of the DOE's workplaces,

        723.    Accommodating Plaintiff would not require the DOE to violalc a bona fide seniority



        724.    Defendants failed to engage in ,tny interactive process with Plaintiff regarding

pO!()lltjnl accommodations or the difficulties posed by any prior IO denial.

        725.    Ocfcndants violated the SHRL by denying Plaintitrs req_u(?S',._ WU!; den!~, a,*.fur           Fo~ : Font~12 pt_ _ _ _ _ _
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reasonable a~1;_ommodation without fi rst 1;ngaging in an internctjvc process and assessing lh£

statutory factors.

        726,    Instead of accommodating Plaintitrs religious oc licfa, Defendants retalialed against

Piaintitfa by suspending her. and tcrrajnating her if;* e.. would not violate their rejigiol!i.JWief.~.       Formatted: Font: 12 pt
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        727.    For the same reasons !ii'.\ forth in the preceding claims, nnd herein, D<!fendants also       by

are liable under the SHRL Jor discrimination, harassmcnl and retaliation based o,l religion.
        m__ T:hc SHRL adopts the sumy tests as Title Vll for a.~scssing discrimination, n:taliation
ang_harassment claims but is suoooscd to be even more liberally construed towards.,plaintitfa.

        729,    t\iding and abetting djscrimini!l,i.Q.n is expressly nlso listed as a standalone violption

of the SHRL even if the coHudcr is not the employer,

        730,    l'laintif[.ti!]lcly notified both Defendants of her cluims, thrQugh the NovembL:r 29,

2021 letter, tho 2021 and 2023 EEOC mings, and a follow up notice of claim in February 2023.
  Case 1:23-cv-09248-RER-PK                              Document 29-2 Filed 09/20/24                                       Page 97 of 107 PageID
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            731.   Pl11intiff also seeks relief on behalf of h.crscl[J}nd all others similarly situated tQ

address widespread discriminntory prucliccs.

            732.   This goal meets the public interest exception to the notice of clajm rcquio..m.M!l!

applicable to the DOE.
            733.   There arc no noJic.\l..Qfc!aim requirements attaching 10 cJaims under lhe SHRL 11g_ain.!il

tht:City.

            734.   As n direct apd proximate result ofcuch Defendants' discrimin.1tion, retaliation and

harassment, Plai111ifTsufTcrcd hurms, including byl not limited to those set forth in the first cnusc of

action.,,

            735,    PlaintifT seeks injunctive and declaratory re!ict: ,md damages. including nominal,

ncnial. compensatory. and punitive damages, along wilh ottorncys· fees pursuant to this cause of

action.

            1.l6..._And Plaintiff is entitled \Q..1:l,llSQ.!lable attorneys· fees and costs under the SHRI,,
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Executive I.aw § 297( I 0).                                                                                                        Bold, Underline, Font color. Au~
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            737.    for the n~ftsons set forth in the first four causes of action, supra. Plaintiff asscm ..                       Right: 0.08", Space Before: 0.05 pt, Li ne spacing:
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claims under the CHRL against both defendant!\ j or failure to ee1Rpl}' with the                                                   3, ... + Slart at 1 + Alignment: Left+ Aligned at: 0.5" +
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discrimim1tion in violation of the CHRL~                                                                             ,:·    Formatted: Font color. Black
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76. PleintilT-sufTurod tile fellewing edYeFSe e1u~e11t oelioHs: DefeAdont DOB 131ae~eHH½-

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77. Defendant OOH-t:etelietoel against Plaintiff~·: 11ssigning a Prnelem Code 10 Pleintifrs

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wei\1tlF of their rigl1ts lo ehelleHge t h ~ n ~

78. AeoordiAgl,•, tkis Coult sho11 ld !ind thel De~ntlflf\1 DOB •,•ioleteel the NVSI IRI, ~

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         738. _AS ,oJ>J9-f<GR-A-.11!!.iu!iff.r.Qp.£.atuind realleges all pnrngrnoh:; of this Co_mplaint ns

if fully Sill forth herein.,

         739.    At nil rclevont limes, the CHRI. has been in full force nnd effect and has applied to

Defendants' conducl,
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       740.       Pursuant to the CHRL:
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    compliance with which would require such person to violate, or forego, a practice of, such                                             Formatted: French (France), Not Expanded by /
    ~~ creed or religion- ...-"'-'-'-and the employer shall make reasonable                    /                                           Condensed by
    accommodntion to the religious needs of such person.                                                                                   Formatted: F1'ench (_F_
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         741 . I.ik1: tbc SHRL, the Cl IRL also provides II stimdalonc vjolation j(an entity is found
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to have cncourap,cd, aided or abetted the violation ofnny riehts provided therein.                                                \        Formatted: Font color: Black

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         742.     As sel forth in Claims 1-4. Dcfcn9ants collu_dcd to deny accommQ.@tion to Plaintiff                       ,Ji. Condensed by
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and her similarly situated cluss members.                                                                             pi '.,.- Formatted: Font color: Black, Not Expanded by /
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         743.     As a result of cnch Defendants' actions, Plaintiffw11s ~usncnclerl and tcnninatcd.
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Plll:in1iA's consequences.•                                                                                                  • { ~ : Font: Italic, Font color. _!!lack

         245.      Both Defondantuilso failed to engage in thuc.Ql!ired coqpenitiye dialogue with

Plaintiff before denying their accommodation requests. which is a s~paratc and indcpendcm act o f

discrimination under the CHRL.

         746.     The CIIRL prohibits dvniat o f accommodation until the employer engages in a

cooperative dialogue.

         The determination that no reasonable acc2.n:il!lfil!.filion would enable the person reguestln~
         an accommodation to satisfy the essentivl regui~itcs of a job or enjoy the ri ght or rights in
         question mav only be made after the parties have engaged, or the covered entity has
         attempted to engage. in a cooperntiye dialogue.

         N. Y.C. Adm in. Code § 8- 107(28}(2}.
         747.      Pursuant to statute. the coopcnltivc dialogue must include analysis and discus~iQn

about any possible nccommodntion and the challenges they ,night face. so that the emolovcc hasJ

chance to i:ngage with the process and offer suggestions 19.QJ:\'.11ich can be considered in good faith

before denial.

         748.      T his ame11dment was made ln response 10 a Court of A ppeals holding that the fni lun,

lo engniw in cooperative djalogpc. whi[Llcry important and indicative of whether 11n employer

acted i n good fahh. WIIS not enough to result in a surnmiuy judgment dctcrminatjon absent more.

          749,     The legislative history o f the Ct IRL amendment notes that the w:nend111cnt was

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meant to cure this holding. nmUQ.JllMC failure to engage In cooncrn1ivc; dialogµc nn i!l_mmcndent

bnsjs for ljndjng summR[)' judgment ngninst the t.lplploycr, even jf undue hardship could h1wc

ultimn1ely heen nroven.

        750.    Other imporrnnt urncndmem::; arc rc!cvqnt too.

        751.    In 2005, rhc New V.9rk Cin!.£011neil 81..TIJ;.!!dCd the CJIRL bv nussiog )he Local_civil

Rights Rc~lQrnt jon...Act of 200~ {the "Re!jtorntion Act"}. N, Y.C. Local L. No. 85.

        752.    "In amending the ( ICHRL. 1hc Cjt;y Council expres~cd the view 1hnt the [)CHRL had

been 'construed too nan-owly' and therefore 'underscoreldl that he nroyjsjons ofNcw York City's

I lun-1!l•L~igbts Law nrc to ~ construed jnclepondcnth fr!m1..w11ilar or identical provisions ciD:l!lli.

York state or fodcrnl stalQlcs."' Rcllim!!ion Act § I.

        753.    To hring about the change, the Acl cst11bliSh\!d two new rules of construction. First.

it Crtlalcd a "one way ratchet" by which interpretations of stute 1111d lcdg!lll £ivil rights statutes Cllll

scr'!'.c QfilY ··•ns n floor l>~Jgw which the City's l luin~njlights law cannot foll.'" Restoration Act§

I . Second. it amended !he p IRL to require thnl its provbion~ "be consli'ucd liberally tor the

accomplishnJent of the unig111,:ly broad 1111d remedial purposes thereat: rngardh.:ss ol whether fods;rnl

Qr}lcw YQrk liltiit~ci,yil_anc;Lhu111_!ln_tig,hts laws. including tho~c law~ wilh.J'l!'.Q'!'.isions eomimrably•

wordcg 10 provisions oflhi~ title!, I huvc beep ~o CQ(l~trucu." Restoration Act§ 7 (amending N.Y.C.

Adm in. Code § 8-130),

        754.     In 201 I. New York City cnoetcd the Workplace Religious Freedom Act. ;unending

sections 8-102 nnd 8-107. 10 adopt a stifler stnn~ard for assessing undue hardship. The commirtce

~PQ[l noted that the City Council's intention :,,v.ns..:lQ.Jlli!.Vidc greater prolcclion to wprkers 1.md~r

the C..ity ltumnn Right~ l,nw tha.Il..11l£1£flcm[...nncl even !ht: StjltC. human rights provisions provide."

N.Y.C. Council. Report ofCommil1cc on Civil Right~ on Prooo,eili!, No, 632, Aug. 16. 20 I I.

        755.     Under th,; Cl IRI .• unduo hurds!lin..is de lined:
Case 1:23-cv-09248-RER-PK                             Document 29-2 Filed 09/20/24                               Page 102 of 107 PageID
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          •·RciJsonpbl~nccommodntion.. as u~cd ip lhiu;ubdivision. shpll mean such accomJllil.illl.!ion
          to an employee's ot_nrospcctivc employee;':; religious observc1ncc or pra~.!i.ce as shnll not
          cause undue hardship in 1hc conduct of the employer's business. The cnmloycr shall have
          the burden of proof lo show such hnrdship. "Undue hnrdship" as used in rhis subdiyi:,ion
          shall menn an accommodqtion rcgpiring significant expense or djffi culty (includlng n
          ~ignilicnnt interference with the ~!IIC or ct11cient operation of the; workplace or a violuticm
          of a bonu fide :;cniority system.)

          N.Y.C. Admjn, Code§ 8-I07(3)Cbl.

          ~ Plainti lT was nblc lo per~orm the essential duties of her joh with rcasoJmble



          757.    Accommoduting Plainliff would 1101 require signifjcanl CX,ll(;!)~e or difficulty from

lhc Defendants.

          758.    Acco11Lm..Qilllting Plaintiff would not r.:quirc the Dofcm1<1111s to violate a bona fide

scniorirv system.

          759.    Accomrnodming Plujntiffwould not signiticon\ly intcrfore with the safe or e;;fficil;nt

operation of Defendant's workplace,

          760,    Plajnti(f asscrtcd sincere rcligiol!,~ objections and there wa~ no basis to question her

sinccrit)'..,

          761.    Dcfcndo111s did not question Plointj[s sjncerity.

          762,    [ns1cad, they dcnicd her based on undue h,irdfillip~

           763.   Dcfcndunts did not meet their hurdc;n pf proving undue hardship,

          Z2i.. Dc&ndonls did not c~tublish lh!!t Plaint if[~ pn~cd_!i.Jljr,;;ct threnl because or her
vtu,cinc ~to\uq, nor can lhey do fil,hJt~~cl forth more fully ;10.QYc.,

          765.    Plaintiff nlso nsserts disc,;rim)nntjon harassment. ,md 1etaliation claims pursunnt 10

Cf JRL. as more tilllv described in the SIIIlL und Tille VI) cn_ug::s of acJ ion, which applv the snme
stnnnards, though thi,; Cl IRL is to be lb~e most.fullllilbly construi.:d towards plai11tiffs.

           766.   As a din.:ct 11nd nro~jJnatc result or D¢1i;ndants.' unlawful discriminatory practices•

                                                                                                        .j.G-1
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Plaintiffhns ~uffcrcd and continues 10 suffer substantial losses. for~ch she is entitled to an 11w~1rd

Q.Lw.Q.!)etary dam11ges which exceeds the jurisdiction Omits of all lower courts. along wi th

reinsj!ttemcnt. declaratory nominal. comp','.nsutory nnd other relic!'.

        767.    A~ a dircc\ and proximote result or D.:fcndants· failure to accommodate Plaintiff,

P1aintjtl' s11~._and..continucs to suQer. severe mental anguish und cmotiorial distress. including

but not limited to deprc~sion, hurniligtion. cmbarrnssmcn\, s\rc_ss and anxiety, loss of sclf•CStcem
and self•confjdcncc, and ernotionnl poin anti suffering for which ~he is i,:ntltled to an award pf

monetary damages in an amount to be clctctmlned at trial.
        768.    As a direct and proxjmatc result o[Dcfcndants' failure to accommodate, Plajnliffis
ulso entitled to injunctive nnd dcc!11ra(9n relief, nominal ;1ml c;ompcnsajory damages. pain Hnd

suffering and punitive damages.

        769.    As set forth nhovc. Defendants' conduct was wi llful and showed II reckless disregard

to.1_ Plaintiff's rlghts._ond the rights of nil of her similprly__situated colh;ugucs, In denying

accommodation. Delendunts violutcd thejr own pol icies ns well os well•estoblishcd lnw, all while

nouting multiple cpurt orders.

        770.    PluintilT is ,1lsn clllitlcd to_ nltomeys' fees, ,;xp9r! fees, m:ll!_othcr cost~r _th~

QJRL N.Y.C. Admin Code §8-502(~.

                                    SIXTH CAUSE OF ACTION

                  (Vlolntlon of the U.S. Con~titution - Equal Protection Clnu"c)

        111- £b1imiffs reincorporate ul) oorgg.i:anhs of this Complaint_qs if fully written herein.
        772.    Plaintiff:; n~s that      norrs ndoptjon of a facially djscrimjnntol')' reljg_i_Q\.IS
uccommpclnlilm poli1;y. which comtitioncd access to accommodation on mcmbor,;hio inn preferred

religious organizntion. and excluded access to those \\<ilh 11np11hodox rcligiou:- bcljc;fs. constitutes

direct evidence or discl'imination jn viotat.iQn of.lh_e Equul Prot1,1c1ion Cla.tJsc of the United Stt)~:;;
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Cru1stitution.

        773.     Dcfcndnnts ore ju<liciallv and collatcratly cstoppcd from arguing that the Stricken

Standards policy js non-discriminatory,

        774.     As the Second Circuit nlrcu(lv noted: '·The City conc~1at the Arbitration

Award, .. ·mav' lmvc been 'constitutionnlly suspect; I) nnd its defense orthat process is hul[-hcarted

at best. Indeed. it pilers no N\ll defense of the Accommodation Standards at pl!." f-.:(111<' 11. de Blasiq,

19 F.4th 152, 167 C2<l Cir. 2021). "We con0nn the City's 'susp!icionr .,:· Id.

        775,     first, the Court held thnt the wri!tcn policy js, nQt neutral, bccµusc on its face. it

~ fill( unorthodo:,; bl;lict:<;_nnd fniths for disp:s~Rte and UllCQll()I treatment "We conclude. lirsl,

that tho procedures specified in the Arbitmtion Award nnd applied to PlaintilTs nrc not neutrnl. The

Supreme Court has explained that 'the government. if it is \o rc~pccr the Constitution•~ gu11r11ntee

of free exercise, cnnnot impose regulations thnt arc hos1i1c to rcljgjous belie ls of affected cjti,.cns

ti@ cannot net inn manner 1.h11t r~ses judgment 110011 QU2.!'CSt1ppo:;:cs lhc illi.,gitJmnc, of rcligioul'

beliefs and practices,' Masterpiece Cakesh(}[I, Ltd V. C'olo. Civil R/ghts Comm ·11. --ll.,5.--. 138 s.

Cl. 1719. 1731 (2018}." Id. at I68.

        lli..    Moreover. hostllc commc11ts by high-level ..C.iJLactors' and DOE Hfl!lll!.Ubout th!<

invalidit\ of sjnccre n;ligious objections grounded in concerns abput abortion or personal prnycr,

or derived from religions other thnn Christian Seit-nee, constitute additional direct evi.dcnce of

di~crim !nation.

        777.       Next. the Court ulso !l£!s.p®'.]cdgcd 11ddi1io1rnl direct evidence of djscrjming_tion in
fuu!rDlic.Ation of DOl;.'s fociiill.Y. unlawful ston<.lards. for example, through DOE's onttom of

rcchamcterizim:; people's belielli ns personal rather thnn rcliL?ious. ·'Denying pn individual R

roligiou;; llCC()1111llOdRtion b;isi,;ct.9n someone clsi;'s publicly expressed rclig.ious yie1vs - even the

leader o l her faith     runs afoul of the Suprcmc.Sourt's teaching 1hnt (i)t is 1101 within_thc judicial


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ken to question the ci;ntralit, ofpnrticular heliels or pructil:~'ni1h._m:.lbr 1•cdirli1J:.p[par1h'p/ar

l itigants' interpretqt,on ofthose creeds. " Id. at I {18-169 kmobi•sis in origjnnll.

           778,     Because Defendants ndoptcd written nnd                de fucto policies with cxprcs:;
cl!1~silication~ bnsc<l on which religion a m;rson hclongul to, nnd bec:nusc of lhc other Direct

fu id~~l~crimi!lntion set forth above, Plain~ittls ofacconun.odntion m11st be prcwmcd

to be prcle>.tunl nnd discruninutorv unde1 this fromcwork. and Qtlcndunb cannot survjvc summur\"

il!.dgmcnt since there is no nllinnntive dcli:nse.

           "]J9.    As set forth mor.£...Ull.hj11 the complaint. Detcndnnl:;' religious animus~every_

1£l.dJll' n:vicy.- nnd..£~~,i~ c~,;fcndnn!iJmnlic~1Q...fliliru_o11s nq~ommodat!ru.1 dcci\ioris

or con~cgucnccs aIler dynial to Plaintiff

           780. As e direct and proximntc ri:2111 of Defcnclunts' discrimination, PlaintilT suffered.
nnd cont inues 10 suffer damages und har111

           711.     Pluintiflli..!milll ctl lgj~ivc n1.1d 9.!h£Le1111itllblc r~n!,';luilinJ:.. rcinfil!lt<;.11lli)j

with no break in scrvi1.-c. front pa} pod back pay jn salary and all benefits and employment terms,

including retirement c edit;;. compensatory danrngcs, including pain t1119 suffering. nominal

cJmnagcs 01 an amo1111t to ho clctcrmincd_111 trio!. pnd !1\torne)'.'s fees. 42 U,S,.C,_§.§.JW,11.Lol.(JJ.

2000,;-SCgH l l. Ckl.

           782.     PJaintiffplso seeks ct..:clnratory relicf11lQ!!J1 with nominal damugcs. Id,

                                       SEVt:NTH CAUSE OF ACTION

                   (Infringement of Free E:i1erci~c Clau~e - United Stairs Constitution)

           ~ l a i o ti.ff repeats anti n:nllc.g~II pnm.&r!!ohs or \l.1is Compluint @SJf.MJ.y_,~i:1 fonh

hcrl'in,

           784.     The Fn.-e Exercise Claus~ of lhc First Amendment 10 the United States C:onsti!Ylion

PJ:.Qllililiil1c.J!Q.VC™ll_ftQl)l 1,1urili<.lliJJJU_hc free \iXerc_i~c of n:ligjon.
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The Fir~! Amcndmcn1..nrovidcs~ i~       rt~      irt.JbJ1t_"{.;Q.!J&rcss shall make n_Q J11F rcspecling Hll.

C~lnblishment pf religion or prohibiting the free exercise thereof, t ·., U.S. Const, amend.
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Figk1s under !hi, URiteo 811lles CeAstitution, Ne•N Yark Slate CoAslilulien, New Yerl, City Hu1Bl¼fl

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